Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 1 of 65 Page ID #:371



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   7                        UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9
  10    RICHARD TRUJILLO, individually,          Case No. 2:19-cv-08370 DSF (MAAx)
        and on behalf of other members of
  11
        the general public similarly situated,   ORDER GRANTING PLAINTIFF’S
  12    and as an aggrieved employee             MOTION TO COMPEL (ECF NO.
        pursuant to the Private Attorneys        44)
  13
        General Act (PAGA),
  14                                             Telephonic Hearing:
                           Plaintiff,            Date: November 20, 2020
  15
                                                 Time: 10:00 a.m.
  16                 v.                          Judge: Maria A. Audero
  17
        THE CHEF’S WAREHOUSE WEST
  18    COAST LLC et al.,
  19
                           Defendants.
  20
  21
  22   I.    INTRODUCTION
  23         Before the Court is Plaintiff Richard Trujillo’s (“Plaintiff”) and Defendant
  24   The Chefs’ Warehouse West Coast LLC’s (“Defendant”) (collectively, the
  25   “Parties”) Joint Stipulation Regarding Discovery Dispute as to Plaintiff’s Motion to
  26   Compel (“Motion”). (Mot., ECF. No. 44.) The Motion is based on the following
  27   documents: Plaintiff’s Notice of Motion to Compel (ECF No. 43); as Exhibit A,
  28   excerpts from the February 10, 2020 videotaped deposition of Richard Trujillo
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 2 of 65 Page ID #:372



   1   (“Trujillo Deposition”) (Trujillo Dep., ECF No. 44-1); as Exhibit B, the Declaration
   2   of Bryce Tuttle (“Tuttle Declaration”) (Tuttle Decl., ECF No. 44-2); as Exhibit C,
   3   the Declaration of Raymond Pinkston (“Pinkston Declaration”) (Pinkston Decl.,
   4   ECF No. 44-3); as Exhibit D, the “Order Regarding Jury Trial” issued by the
   5   Honorable Dale S. Fischer, the District Judge presiding over this case (ECF No. 44-
   6   4); and, as Exhibit E, the Declaration of Rodney Aguirre (“Aguirre Declaration”)
   7   (Aguirre Decl., ECF No. 44-5).
   8          Through the Motion, Plaintiff seeks an order compelling further responses to
   9   his Interrogatory No. 1 (seeking class contact information), and his Requests for
  10   Production of Documents Nos. 5, 6, and 30 (seeking, respectively, timekeeping
  11   data, payroll data, and wage statements). (See generally Mot.) Necessarily
  12   implicated in this discovery is the question of whether Plaintiff is entitled to
  13   discovery in the first instance before a class is certified, and if so, the scope of that
  14   discovery.
  15          Having read and considered the papers presented by the Parties, and having
  16   considered the multiple hours of informal discovery conferences regarding the
  17   issues raised in this Motion, the Court finds the Motion suitable for disposition
  18   without a hearing. See Fed. R. Civ. P. 78; C.D. Cal. L.R. 7-15. Accordingly, the
  19   hearing set for November 20, 2020 at 10:00 a.m. is hereby VACATED.
  20          For the reasons set forth below, the Court GRANTS Plaintiff’s Motion in its
  21   entirety.
  22
  23   II.    RELEVANT BACKGROUND
  24          A.    The Claims and Defenses
  25          Defendant is a specialty food distributor engaged in the business of
  26   delivering ingredients to restaurants and other food preparation vendors in twenty-
  27   six states, including California. (Compl. ¶ 22, ECF 1-1.) In California, it operates
  28   two warehouse/distribution centers—one in Union City and one in the City of
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 3 of 65 Page ID #:373



   1   Industry. (Mot. 7.) 1 Plaintiff worked for Defendant in the position of Warehouse
   2   Worker during its day shift, exclusively in Defendant’s City of Industry location,
   3   from March 2016 to July 2018. (Id.; Compl. ¶ 5.)
   4         On July 22, 2019, Plaintiff filed the instant hybrid class action pursuant to
   5   California Code of Civil Procedure section 382, et seq., and representative action
   6   pursuant to the California Private Attorneys General Act, California Labor Code
   7   section 2698, et seq., (“PAGA”), in Los Angeles County Superior Court. 2 (Mot. 7;
   8   see generally Compl.) Pursuant to his class action allegations, Plaintiff seeks to
   9   represent a putative class of all non-exempt hourly employees who worked for
  10   Defendant in California (excluding Drivers and Driver Trainers) from July 22, 2015
  11   to the present. (Mot. 7; Compl. ¶ 53.) Pursuant to his PAGA allegations, Plaintiff
  12   brings representative claims on behalf of the State of California and all other
  13   aggrieved employees who worked as non-exempt hourly employees for Defendant
  14   in California (excluding Drivers and Driver Trainers) from May 13, 2018 to the
  15   present. (Mot. 7, 8 n.3; Compl. ¶¶ 43, 50.)
  16         On behalf of himself and those persons he seeks to represent, Plaintiff alleges
  17   that Defendant violated California wage-and-hour laws by failing to: pay them
  18   overtime premiums, minimum wage, and vacation wages; provide compliant meal
  19   periods and rest breaks and pay premium wages for the non-compliant meal periods
  20   and rest breaks; provide compliant wage statements; maintain payroll records; pay
  21   termination wages; and reimburse business expenses. (See generally Compl.)
  22   Based on these allegations, Plaintiff claims that Defendant engaged in unfair
  23
  24   1
        Pinpoint citations of page numbers in docketed documents refer to the page
  25   numbers in the ECF-generated headers.

  26   2
         Plaintiff names a number of other defendant entities that are not the subject of this
  27   Motion. (See generally Compl.) Thus, for purposes of this Motion, the Court’s
       reference to “Defendant” shall refer only to Defendant The Chef’s Warehouse West
  28   Coast LLC.
                                                  3
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 4 of 65 Page ID #:374



   1   business practices in violation of California Business & Professions Code sections
   2   17200, et seq. (Id.)
   3         Defendant filed an Answer to the Complaint on September 26, 2020, while
   4   the case was still in state court. (Answer, ECF No. 1-2.) There, it denied, generally
   5   and specifically, Plaintiff’s allegations. (Id. at ¶ 1.) In addition, Defendant asserted
   6   a number of affirmative defenses, including that Plaintiff and/or the employees he
   7   seeks to represent have waived or released their claims against Defendant (id. at ¶
   8   29) and their right to proceed on a class or collective basis (id. at ¶ 33).
   9         The case was removed to federal court on September 27, 2019. (Mot. 7; ECF
  10   No. 1.)
  11
  12         B.     Discovery
  13         At issue here is written discovery propounded by Plaintiff to Defendant—
  14   specifically, Plaintiff’s Interrogatory No. 1 (“Interrogatory No. 1”) and Plaintiff’s
  15   Requests for Production of Documents Nos. 5, 6, and 30 (each, respectively,
  16   “Request No. 5,” “Request No. 6,” and “Request No. 30”). (Mot. 20, 23–26.)
  17         Interrogatory No. 1 seeks the names and contact information for the putative
  18   class members. (Id. at 20.) In addition, Plaintiff seeks the payroll data (Request
  19   No. 5), timekeeping data (Request No. 6), and wage statements (Request No. 30)
  20   for a representative sample of the putative class members. (Id. at 9, 23–26.)
  21   Plaintiff’s class definition has evolved over time. While first alleged broadly as all
  22   non-exempt hourly employees of Defendant in both of its California locations
  23   (excluding Drivers and Driver Trainers), Plaintiff has altered the class definition, at
  24   least for purposes of this Motion, to all of Defendant’s Warehouse Workers in both
  25   day and night shifts (respectively, “Day Warehouse Workers” and “Night
  26   Warehouse Workers”), at both of its California locations (excluding Drivers and
  27   Driver Trainers). (Compare Compl. ¶ 53 with Mot. 6.)
  28   ///
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 5 of 65 Page ID #:375



   1         Defendant objects to this discovery on multiple grounds. (Mot. 20, 24–26.)
   2   Defendant first contends that Plaintiff is not entitled to pre-certification discovery in
   3   the first instance. (Mot. 29–30.) Defendant next contends that, to the extent such
   4   discovery is permitted, the scope of discovery should be limited to encompass only
   5   those employees who work or worked as Day Warehouse Workers in Defendant’s
   6   City of Industry facility (excluding Drivers and Driver Trainers) and, from that
   7   group, should exclude those who signed an agreement releasing Defendant from the
   8   claims alleged here and/or an arbitration agreement through which they waived
   9   their right to proceed against Defendant on a class or collective basis. (Mot. 30–
  10   40.) Finally, Defendant contends that Plaintiff is not entitled to class contact
  11   information or the timekeeping data, payroll data, and wage statements he seeks;
  12   but, to the extent the Court grants such discovery, it should be limited to a 10%
  13   representative sample of the putative class. (Mot. 40–44.)
  14
  15         C.     The Parties’ Efforts to Resolve this Dispute Without Court
  16                Intervention
  17         As the Parties note, the Court is aware that, before filing this Motion, they
  18   engaged in extensive meet-and-confer efforts to attempt to resolve their discovery
  19   disputes both with and without Court intervention. (See Mot. 8.) Indeed, they
  20   appeared before the Court on multiple occasions seeking the Court’s assistance, all
  21   of which were preceded and followed by laudable and productive efforts to narrow
  22   their differences. After the informal discovery conference of August 19, 2020
  23   which lasted in excess of three hours (“IDC”), at which the Court granted the
  24   Parties’ joint request to file a motion regarding unresolved issues, the Parties
  25   continued meeting and conferring and resolved the great majority of the disputed
  26   issues (Mot. 1 n.1), leaving unresolved only the single interrogatory and three
  27   document requests at issue here, premised upon this Court’s determination of the
  28   proper scope of that discovery.
                                                  5
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 6 of 65 Page ID #:376



   1   III.   DISCUSSION
   2          A.    The Court Grants Plaintiff’s Request for Pre-Certification
   3                Discovery.
   4          Plaintiff seeks discovery at this pre-certification stage of the proceedings in
   5   order to support his eventual “move for class certification and [to] assist [him] in
   6   properly defining a class and any potential subclasses.” (Mot. 5.) Defendant
   7   opposes this request on the ground that Plaintiff has not met his burden to obtain
   8   pre-certification discovery. (Id. at 29–30.)
   9          Defendant’s position is in contrast to the position it asserted in the Parties’
  10   December 11, 2019 Joint Rule 26(f) Report. While Plaintiff stated that, for pre-
  11   certification discovery, he would seek “the names and contact information of
  12   putative class members . . . a sample of payroll records, a sample of time records
  13   (whether set forth in a computerized timekeeping system, manually-kept records, or
  14   otherwise), and a sample of wage statements,” Defendant stated: “Discovery
  15   should proceed in phases, with class certification discovery proceeding first, and
  16   merits discovery, if any, second.” (ECF No. 14, at 9–10.) Moreover, Defendant
  17   already has engaged in significant pre-certification discovery, having already
  18   produced documents and reached agreements with Plaintiff to produce an
  19   abundance of such discovery. (Mot. 5 n.1.) Nevertheless, the Court will disregard
  20   these contradictions and will consider Defendant’s arguments and objections to pre-
  21   certification discovery as set forth in the Motion and as articulated during the IDC.
  22          For the reasons set forth below, the Court GRANTS Plaintiff’s request for
  23   pre-certification discovery subject to Plaintiff meeting the other legal burdens
  24   associated with discovery as to each of his specific requests, also discussed below.
  25
  26                1.     Legal Standard
  27          Federal Rule of Civil Procedure 23(c)(1) provides that “[a]t an early
  28   practicable time after a person sues or is sued as a class representative, the court
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 7 of 65 Page ID #:377



   1   must determine by order whether to certify the action as a class action.” Fed. R.
   2   Civ. P. 23(c)(1)(A). To maintain a class action, the plaintiff must satisfy the
   3   requirements of Rule3 23(a), which provides:
   4
                    One or more members of a class may sue or be sued as
   5                representative parties on behalf of all members only if:
                    (1) the class is so numerous that joinder of all members is
   6
                    impracticable; (2) there are questions of law or fact
   7                common to the class; (3) the claims or defenses of the
                    representative parties are typical of the claims or
   8
                    defenses of the class; and (4) the representative parties
   9                will fairly and adequately protect the interests of the
                    class.
  10
  11   Fed. R. Civ. P. 23(a).
  12         In Kamm v. California City Development Co., 509 F.2d 205 (9th Cir. 1975),
  13   the Ninth Circuit recognized that “[w]hether or not discovery will be permitted in a
  14   case of this nature lies within the sound discretion of the trial court.” Id. at 209.
  15   “In determining whether to grant discovery the court must consider its need, the
  16   time required, and the probability of discovery resolving any factual issue necessary
  17   for the determination.” Id. at 210. The Ninth Circuit recognized that “the propriety
  18   of a class action “cannot be determined in some cases without discovery, as for
  19   example, where discovery is necessary to determine the existence of a class or set
  20   of subclasses.” Id. at 210. Although it would be an abuse of discretion to deny
  21   discovery in such a case, “[w]here the necessary factual issues may be resolved
  22   without discovery, it is not required.” Id. Two years later, in Doninger v. Pacific
  23   Northwest Bell, Inc., 564 F.2d 1304 (9th Cir. 1977), the Ninth Circuit explained
  24   that “the better and more advisable practice” is to permit enough discovery to
  25   establish whether a class action is maintainable, “especially when the information is
  26   within the sole possession of the defendant.” Id. at 1313. Still, the Ninth Circuit
  27   3
        Unless otherwise specified, this and all further references to “Rule” shall be to the
  28   Federal Rules of Civil Procedure.
                                                   7
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 8 of 65 Page ID #:378



   1   noted that, to obtain that discovery, the plaintiff first must either “make . . . a prima
   2   facie showing of Rule 23’s prerequisites” or “demonstrate that discovery measures
   3   are likely to produce persuasive information substantiating the class action
   4   allegations.” Id. Consistent with Doninger, the Ninth Circuit later confirmed that
   5   “[a]lthough in some cases a district court should allow discovery to aid the
   6   determination of whether a class action is maintainable, the plaintiff bears the
   7   burden of advancing a prima facie showing that the class action requirements of
   8   Fed. R. Civ. P. 23 are satisfied or that discovery is likely to produce substantiation
   9   of the class allegations.” Mantolete v. Bolger, 767 F.2d 1416, 1424 (9th Cir. 1985).
  10   “Absent such a showing, a trial court’s refusal to allow class discovery is not an
  11   abuse of discretion.” Id. Upon a review of its earlier cases in Vinole v.
  12   Countrywide Home Loans, Inc., 571 F.3d 935 (9th Cir. 2009), the Ninth Circuit
  13   concluded that the cases “stand for the unremarkable proposition that often the
  14   pleadings alone will not resolve the question of class certification and some
  15   discovery will be warranted.” Id. at 942.
  16         Courts in this Circuit applying the teachings of Doninger, Mantolete, and
  17   Vinole have concluded that the prima facie showing, to the extent required, need not
  18   be “strict.” See, e.g., Kaminske v. JP Morgan Chase Bank, N.A., No. SACV 09-
  19   00918 JVS (RNBx), 2010 U.S. Dist. LEXIS 141514, at *5–6 (C.D. Cal. May 21,
  20   2010) (holding that “a prima facie showing that was more akin to a showing of
  21   likelihood of success at the class certification stage” was “too strict” and “contrary
  22   to law”); Coleman v. Jenny Craig, Inc., No. 11-cv-1301-MMA (DHB), 2013 U.S.
  23   Dist. LEXIS 82815, at *22 (S.D. Cal. June 12, 2013) (declining to require, as an
  24   impermissible burden, that the plaintiff prove a likelihood of success at the class
  25   certification stage in order to obtain pre-certification discovery); Goundar v. Redfin
  26   Corp., No. CV 13-3698 PSG (MRWx), 2014 U.S. Dist. LEXIS 189393, at *4 (C.D.
  27   Cal. July 21, 2014) (allowing pre-certification discovery on “a meager showing”
  28   ///
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 9 of 65 Page ID #:379



   1   and “no evidence in support of [the plaintiff’s] contention that Rule 23 certification
   2   [would] be appropriate at a later stage of the action”).
   3
   4                2.     Discussion
   5         Plaintiff cites multiple district court cases in which the plaintiffs requesting
   6   pre-certification discovery were not required to make a prima facie showing. (Mot.
   7   10.) While it is correct that neither Doninger nor Mantolete require a prima facie
   8   showing in all cases, and that some courts grant pre-certification discovery without
   9   it, there is no question that the decision to require such a showing lies soundly
  10   within the discretion of the trial court. Kamm, 509 F.2d at 209; Artis v. Deere &
  11   Co., 276 F.R.D. 348, 351 (N.D. Cal. 2011) (“Prior to class certification under Rule
  12   23, discovery lies entirely within the discretion of the Court.” (citing Vinole, 571
  13   F.3d at 942)).
  14         Here, as Defendant aptly points out (Mot. 29), Plaintiff fails to make a prima
  15   facie showing in the Motion that a class action is maintainable under Rule 23.
  16   Indeed, the Court notes that Plaintiff does not even attempt to make such a showing
  17   in his Motion. (Id. at 9–10.) He relies instead on the relevancy standard of Rule
  18   26, which informs the question of what discovery should be permitted, not whether
  19   discovery should be permitted in the first instance. (Id. at 9.) This puts the cart
  20   before the horse and, as Defendant correctly notes, is not the appropriate standard.
  21   (Mot. 25.)
  22         Nevertheless, Plaintiff’s failure to set forth his prima facie showing in the
  23   Motion does not foreclose a finding that one has been alleged, such as in the
  24   Complaint. Plaintiff appropriately cites Talavera v. Sun Maid Growers of
  25   California, No. 1:15-cv-00842-AWI-SAB, 2017 U.S. Dist. LEXIS 16509 (E.D.
  26   Cal. Feb. 6, 2017), for its finding that, at this stage of the proceedings, “the
  27   allegations in the complaint are sufficient to state a prima facie case for class relief
  28   under Rule 23.” Id. at *3. In Talavera, a donning-and-doffing case, the defendant
                                                   9
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 10 of 65 Page ID #:380



    1   objected to the plaintiff’s request for pre-certification discovery on the ground that
    2   the plaintiff had not made a prima facie showing of the Rule 23(a) factors. Id. at
    3   *6. The court found, however, that the plaintiff was entitled to pre-certification
    4   discovery based on the Rule 23 allegations contained in the complaint. Id. at *6–9.
    5   Notably, Plaintiff’s class allegations here are almost identical to those accepted by
    6   the court in Talavera. As to numerosity, the plaintiff in Talavera alleged that “the
    7   class is in the hundreds if not thousands,” Talavera, 2017 U.S. Dist. LEXIS 16509,
    8   at *6–7, while Plaintiff here alleges that “the class is estimated to be greater than
    9   one hundred,” (Compl. ¶ 58(q)). As to commonality, the plaintiff in Talavera
   10   alleged that “due to the time spent on [donning/doffing] activities, meal breaks were
   11   frequently not offered to employees within the first five hours of the
   12   commencement of their work activities and employees were not provided with a
   13   legally compliant thirty minute [meal] 4 period[,]” Talavera, 2017 U.S. Dist. LEXIS
   14   16509, at *7–8, while Plaintiff here alleges that “Plaintiff and class members had
   15   their meal periods interrupted and cut short by work to meet supervisor and
   16   customer demands,” and that they “waited extended periods of time before taking
   17   meal periods in order to address customer demand in the retail area or respond to
   18   supervisors’ questions[,]” (Compl. ¶¶ 66, 81). As to typicality, the plaintiff in
   19   Talavera alleged that “he and the other putative class members were not paid for
   20
        4
   21     The Talavera decision states: “. . . and employees were not provided with a
        legally compliant thirty minute work period.” Talavera, 2017 U.S. Dist. LEXIS
   22   16509, at *8. A review of the complaint in the case reveals that this is a
   23   typographical error in the decision and that instead the phrase is “thirty minute meal
        period.” Complaint at ¶ 13, Talavera v. Sun Maid Growers of Cal., No. 1:15-cv-
   24   00842-AWI-SAB (E.D. Cal. June 3, 2015), ECF No. 1. See Fed. R. Evid. 201(b)(2)
   25   (“The court may judicially notice a fact that is not subject to reasonable dispute
        because it . . . can be accurately and readily determined from sources whose
   26   accuracy cannot reasonably be questioned.”); Harris v. County of Orange, 682 F.3d
   27   1126, 1131–32 (9th Cir. 2012) (noting that courts may take judicial notice of
        undisputed matters of public record, including “documents on file in federal or state
   28   courts”).
                                                   10
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 11 of 65 Page ID #:381



    1   time spent donning sanitary gear and were not provided with timely meal breaks[,]”
    2   Talavera, 2017 U.S. Dist. LEXIS 16509, at *8, while Plaintiff here alleges that he
    3   and the putative class members “were not paid for all hours worked because all
    4   hours worked were not recorded,” and “were not provided with timely,
    5   uninterrupted, thirty (30) minute meal periods and . . . were not provided with all
    6   meal periods or payment of one (1) additional hour of pay at their regular rates
    7   when they did not receive a timely, uninterrupted, thirty (30) minute meal period”
    8   (Compl. ¶¶ 27, 29). As to adequacy of representation, the plaintiff in Talavera
    9   alleged that “he [was] a member of the class and [did] not have any conflicts of
   10   interest with the members of the class and [would] vigorously prosecute this
   11   action[,]” Talavera, 2017 U.S. Dist. LEXIS 16509, at *9, while Plaintiff here,
   12   acknowledging that “he has an obligation to make known to the Court any
   13   relationship, conflicts or differences with any class member,” alleges that he “is
   14   qualified to, and will, fairly and adequately protect the interests of each class
   15   member with whom he has a well-defined community of interest and typicality of
   16   claims[,]” (Compl. ¶ 58(s)). Just as the Talavera court concluded that the class
   17   action allegations contained in the plaintiff’s complaint were “sufficient to state a
   18   prima facie case for class relief under Rule 23” and supported a request for pre-
   19   certification discovery, Talavera, 2017 U.S. Dist. LEXIS 16509, at *9, so too does
   20   this Court conclude that Plaintiff has satisfied his burden to make a prima facie
   21   showing under Rule 23(a) in support of his request for pre-certification discovery.5
   22   See also Coleman, 2013 U.S. Dist. LEXIS 82815, at *16–17 (finding that the
   23   plaintiff met his Mantolete burden by relying, in part, on allegations in the
   24   complaint) (citing Washington v. Joe’s Crab Shack, 271 F.R.D. 629, 636 (N.D. Cal.
   25
   26   5
         “The Court is not making findings related to class certification, but evaluates the
   27   certification factors at this time only for a determination of whether prima facie
        evidence has been shown.” Soto v. Castlerock Farming & Transport, Inc., 282
   28   F.R.D. 492, 500 n.6 (E.D. Cal. 2012) (emphasis in original).
                                                   11
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 12 of 65 Page ID #:382



    1   2010) (“Plaintiff’s claims, as pled, share a common question of law—whether any
    2   of the practices [defendant] is alleged to have engaged in constitute violations of
    3   California law—and at least some of the facts to be analyzed with respect to this
    4   question are the same.”)). Thus, the Court concludes that Plaintiff has satisfied his
    5   burden of establishing a prima facie showing of the Rule 23 class certification
    6   factors.
    7         Moreover, even the absence of a such a prima facie showing would not end
    8   the inquiry. As noted above, pre-certification discovery may be permitted where
    9   the plaintiff, alternatively, demonstrates “that discovery measures are likely to
   10   produce persuasive information substantiating the class action allegations.”
   11   Doninger, 564 F.2d at 1313. The Court finds that Plaintiff also has met that
   12   burden. Plaintiff explains that the class contact information he seeks will provide
   13   access to other employees who have information that “likely [will] support
   14   Plaintiff’s theories on which he will move for class certification and which will
   15   assist Plaintiff in properly defining a class and any potential subclasses.” (Mot. 9.)
   16   Plaintiff also explains that the data and documents he seeks—timekeeping data,
   17   payroll data, and wage statements—will provide facts related to commonality and
   18   typicality. (Id. at 27 (“Timekeeping data . . . will establish commonality . . . and
   19   typicality” 6 and “[p]ayroll data will be used to establish commonality and typicality
   20   of Plaintiff’s meal, rest, and compensation claims”)); (id. at 29 (wage statements are
   21   ///
   22
   23   6
          Plaintiff notes that timekeeping data also will establish “preponderance.” (Mot.
   24   27.) However, “preponderance” is not a requirement under Rule 23. See Wang v.
   25   Chinese Daily News, 737 F.3d 538, 544 (9th Cir. 2013) (“Plaintiffs need not show
        that every question in the case, or even a preponderance of questions, is capable of
   26   classwide resolution. So long as there is ‘even a single common question,’ a
   27   would-be class can satisfy the commonality requirement of Rule 23(a)(2).” (quoting
        Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011) (alteration and internal
   28   quotation marks omitted))).
                                                  12
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 13 of 65 Page ID #:383



    1   necessary “to establish the commonality and typicality of CWWC’s failure to pay
    2   all earned vested vacation wages”).)
    3         Relying on Dittmar v. Costco Wholesale Corp., No. 14-cv-1156 LAB (JLB),
    4   2016 U.S. Dist. LEXIS 172404 (S.D. Cal. Dec. 12, 2016), Defendant argues that
    5   Plaintiff’s explanations regarding his need for pre-certification discovery are
    6   “conclusory” and “unconvincing.” (Mot. 29.) But Defendant’s reliance on Dittmar
    7   is misplaced. The court in Dittmar did state, as Defendant contends, that “[a]bsent
    8   some factual basis for a plaintiff’s claims that defendant’s alleged wrongs are class-
    9   wide, plaintiffs are not entitled to class-wide discovery; and the plaintiff cannot rely
   10   on the bare allegations of the complaint to support class-wide discovery.” (Id.
   11   (quoting Dittmar, 2016 U.S. Dist. LEXIS 172404, at *8).) However, Dittmar
   12   involved only the scope of the class for which class contact information would be
   13   permitted, not whether discovery should be permitted in the first instance. See
   14   Dittmar, 2016 U.S. Dist. LEXIS 172404, at *10–11 (limiting the issues to only two:
   15   “(1) whether discovery should be limited to particular warehouses; and (2) whether
   16   discovery should be limited to particular departments within the warehouses”).
   17   More importantly, the court in Dittmar granted pre-certification discovery as to a
   18   subclass even where “the moving papers [did] little to justify [the plaintiff’s]
   19   entitlement to the discovery,” reasoning that the discovery was “likely to
   20   substantiate [that subclass’s] claim.” Id. at *15. Thus, Dittmar more clearly stands
   21   for the proposition that the “factual basis” required for pre-certification discovery is
   22   met with little justification. On this record, the Court easily can conclude that
   23   Plaintiff meets the Dittmar standard for pre-certification discovery.
   24         Moreover, Defendant’s objections to Plaintiff’s legal authorities lack merit.
   25   While Defendant is correct that the court in Doninger did not find abuse of
   26   discretion in the lower court’s denial of pre-certification discovery (Mot. 30), its
   27   holding was not, as Defendant contends, based on the fact that the plaintiff had
   28   failed to make a prima facie showing (id.); rather, it was based on the fact that
                                                  13
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 14 of 65 Page ID #:384



    1   plaintiff had made neither a prima facie showing nor a demonstration that
    2   “discovery measures are likely to produce persuasive information substantiating the
    3   class action allegations.” Doninger, 564 F.2d at 1313. Similarly, while Defendant
    4   is correct that Edwards v. The First American Corp., 385 F. App’x 629 (9th Cir.
    5   2010), was not a wage-and-hour case and involved a scheme not at issue here (Mot.
    6   30), the court’s decision to grant pre-certification discovery did not turn on the
    7   nature of the case or the existence of a scheme. See Edwards, 385 F. App’x at 631.
    8   Likewise, while Defendant is correct that Talavera was, as discussed above, a
    9   donning-and-doffing case (Mot. 30), Defendant’s apparent contention that pre-
   10   certification discovery was appropriate there because donning-and-doffing cases
   11   “may be more amenable to class certification than Plaintiff’s highly individualized
   12   claims” (id.), is wholly unsupported by the text of the decision, which at no point
   13   makes such a distinction, and which, in fact, granted pre-certification discovery on
   14   a limited justification. See Talavera, 2017 U.S. Dist. LEXIS, at *6–9. Finally,
   15   Defendant’s attempt to distinguish Kress v. Price Waterhouse Coopers, No. CIV S-
   16   08-0965 LKK GGH, 2011 U.S. Dist. LEXIS 87845 (E.D. Cal. Aug. 8, 2011),
   17   misses the mark. Defendant’s first distinction—that the information sought in
   18   Kress involved a “single specific group of employees (senior associates)” (Mot.
   19   30)—is an inaccurate characterization of the putative class at issue given that the
   20   plaintiff in Kress described the group as “associate[s] or senior associate[s] in the
   21   tax line of service in California, and/or as senior associate[s] in the assurance line in
   22   California,” and, as to the individuals in the tax line, “not limited to individuals
   23   who worked in the TPDG Tax line of service, but will also include the Industry
   24   Services Group, Financial Services Group, and International Tax Services group of
   25   the Tax line.” Kress, 2011 U.S. Dist. LEXIS 87845, at *3, *12. If anything, the
   26   group for whom Plaintiff seeks information here is as, or more, specific—Day and
   27   Night Warehouse Workers. Moreover, the second distinction advanced by
   28   Defendant—that the information involved a single entity (Mot. 30)—is of no
                                                   14
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 15 of 65 Page ID #:385



    1   consequence because Plaintiff here also seeks information involving a single entity
    2   (Defendant).
    3         For all of these reasons, the Court concludes that Plaintiff is entitled to pre-
    4   certification discovery. The Court turns next to the determination of the proper
    5   scope of that discovery.
    6
    7         B.       The Court Grants Plaintiff’s Request That Pre-Certification
    8                  Discovery Encompass Employees in Both of Defendant’s Locations
    9                  and Shifts, Even if They Signed Releases and/or Are Subject to
   10                  Class Action Waivers.
   11         Having concluded that pre-certification discovery is warranted, the Court
   12   next must determine whether the specific information Plaintiff seeks is discoverable
   13   at this stage. Necessarily implicated in that determination is the overarching
   14   question regarding the appropriate scope of that discovery—that is, how wide the
   15   discovery net may be cast. Specifically, the Court must decide whether Plaintiff
   16   has produced sufficient justification to extend discovery beyond his particular
   17   employment circumstances such that an undue burden is not imposed on Defendant.
   18         Plaintiff seeks to represent a putative class comprised of all of Defendant’s
   19   employees who worked as a Day or Night Warehouse Worker, in both the City of
   20   Industry and the Union City locations, and regardless of whether those employees
   21   signed settlement agreements releasing Defendant from the claims asserted here
   22   and/or arbitration agreements with class action waivers, all during the period from
   23   July 22, 2015 to the present. (Mot. 11–15.) Plaintiff seeks this discovery although
   24   he only worked as a Day Warehouse Worker in the City of Industry, and is subject
   25   to neither a settlement agreement nor an arbitration agreement.7
   26
        7
   27     In their “Summary of Dispute,” the Parties contend that during IDC, the
        undersigned “indicated that the scope of permissible discovery should initially be
   28   limited to a subgroup of ‘Day Warehouse Workers employed at the CWWC, City
                                                  15
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 16 of 65 Page ID #:386



    1         Defendant objects to such expansive discovery on the ground that Plaintiff
    2   never worked in the Union City location or in the night shift and has not otherwise
    3   produced sufficient justification entitling him to discovery as to those persons.
    4   (Mot. 30–36.) Defendant also contends that the discovery should not include
    5   persons who have released their claims through settlement agreements or have
    6
        of Industry location’ with no distinction between Plaintiff’s claims and PAGA
    7
        claims.” (Mot. 6.) In their “Joint Statement Regarding The Procedural
    8   Background,” the Parties contend that the undersigned “recommended defining the
        scope of discovery to include only those people employed by CWWC in the job
    9
        position of ‘Day Warehouse Worker’ at the City of Industry, California” and that
   10   the undersigned also “advised that her recommendation was to include within the
   11   scope of discovery those employees who signed Release Agreements pursuant to a
        Pick-Up Stix campaign and those who had executed arbitration agreements on the
   12   ground that Plaintiff needed that information based on his contention that those
   13   agreements were invalid.” (Mot. 8.) The Court disagrees with this characterization
        of the dialogue during the IDC. What is clear from the Court’s record is that the
   14   undersigned went out of her way to advise the Parties that she was providing
   15   “preliminary thoughts” regarding “where [she] would land” given what the Parties
        had proffered to the Court, both during the various informal discovery conferences
   16   and the Settlement Conference. The undersigned specifically noted that her
   17   decision regarding the scope of discovery would “be informed by all sorts of
        factors” for which the Court did not have all the information, and concluded that
   18   briefing would assist the ultimate decision. The undersigned also specifically noted
   19   that Plaintiff’s deposition would be informative, as would a review of the
        Defendant’s California-wide policies, information about what Plaintiff knows about
   20   other locations, testimony of other employees regarding their experiences, and
   21   concluded that the more information the Parties could provide, “the better,”
        especially in light of the undersigned’s repeated statements that she “could be
   22   convinced” regarding a different scope of discovery with the proper presentation of
   23   additional and competent evidence. The Court notes that a review of the IDC
        record will reveal that the undersigned did not use the term “recommend” or a
   24   phrase to the effect of “should initially be limited to” in reference to the scope of
   25   discovery. Unless otherwise referred by the District Judge presiding over the case,
        this Court does not have authority to make recommendations regarding—let alone
   26   resolve—the scope of a class, and neither did so during the IDC nor does so in this
   27   Order. See 28 U.S.C. § 636(b)(1)(A) (limiting a magistrate judge’s authority to
        resolving and issuing orders on non-dispositive matters); Fed. R. Civ. P. 72(a); C.D.
   28   Cal. Civ. R. 72-2.1.
                                                  16
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 17 of 65 Page ID #:387



    1   waived their right to proceed on a class or collective basis through arbitration
    2   agreements because, having signed neither such agreement, “Plaintiff’s claims are
    3   not typical of the claims of those individuals,” and Plaintiff is not an adequate
    4   representative for them. (Mot. 37–40.)
    5         The Court agrees with Plaintiff. For the reasons set forth below, the Court
    6   concludes that, based on the information provided here, discovery at this stage
    7   should include both Day and Night Warehouse Workers, who worked in either the
    8   City of Industry or Union City locations, and regardless of whether they signed
    9   releases or arbitration agreements with class action waivers.
   10
   11                1.     Legal Standard
   12         In Rule 23 class actions, a plaintiff seeking to extend his or her pre-
   13   certification discovery into locations beyond where he or she works or worked must
   14   produce some evidence that indicates company-wide violations.8 Nguyen v. Baxter
   15   Healthcare Corp., 275 F.R.D. 503, 508 (N.D. Cal. 2011). Courts interpreting this
   16   requirement make clear that the starting and ending point of this fact-intensive
   17   inquiry is whether the plaintiff is able to present evidence of a company-wide
   18   policy or practice of violating the alleged laws, and that discovery beyond this
   19   reach is unreasonably broad, unduly burdensome, and not relevant to certification
   20   of a class common to the plaintiff. See id.; Martinet v. Spherion Atl. Enters., LLC,
   21   ///
   22
        8
   23     The Parties dispute whether Plaintiff’s PAGA claims entitle him to the discovery
        he seeks even if he otherwise would not be entitled to such discovery under a Rule
   24   23 pre-certification analysis. (Mot. 15–19, 36–37.) Because the relevant period for
   25   the PAGA claims is smaller than that for the Rule 23 class action, such PAGA
        discovery would be subsumed within the discovery Plaintiff seeks under Rule 23.
   26   Thus, as the Court decides, for the reasons stated below, that Plaintiff is entitled to
   27   the Rule 23 pre-certification discovery he seeks, and that discovery necessarily will
        encompass the PAGA discovery, the Court need not resolve, and does not address,
   28   the Parties’ PAGA dispute.
                                                  17
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 18 of 65 Page ID #:388



    1   No. 07cv2178 W (AJB), 2008 U.S. Dist. LEXIS 48113, at *6 (S.D. Cal. June 23,
    2   2008).
    3         For example, in Nguyen, 275 F.R.D. at 504, the plaintiff, who worked in only
    4   one of the defendant’s California facilities but sought to represent a class
    5   encompassing the employees in all California facilities, alleged a company-wide
    6   practice of failure to provide meal periods and accurate wage statements. Despite
    7   seeking to represent a state-wide class, the plaintiff’s testimony was that she had
    8   never worked in a location other than her own, that she knew nothing about the
    9   company practices outside of her own location, that she had not spoken with any
   10   other employee about the lawsuit or obtained any information from them—
   11   including whether they agreed with the lawsuit—and that she did not know if any
   12   other employee had suffered the same wrongs as she claimed. Id. at 507–08. In
   13   addition, when asked, her counsel admitted that he had no evidence about other
   14   facilities, but argued that if the supervisors at plaintiff’s facility did not follow
   15   company guidelines, it was “reasonable to assume that supervisors at other facilities
   16   must also have violated these same guidelines.” Id. at 508. On these facts, the
   17   court concluded that, given the “absence of any evidence to suggest that similar
   18   violations occurred outside [the plaintiff’s] facility, Plaintiff ha[d] failed to justify
   19   discovery at Defendant’s other California facilities.” Id.
   20         Similarly, in Franco v. Bank of America, No. 09cv1364-LAB (BLM), 2009
   21   U.S. Dist. LEXIS 111873, at *3 (S.D. Cal. Dec. 1, 2009), a plaintiff who worked in
   22   only two of the defendant’s California branches sought to represent a class
   23   encompassing employees in all California branches, alleging a company-wide
   24   policy and practice of nonpayment of overtime wages. He supported his request for
   25   state-wide discovery through a declaration stating: (1) that he was told by the
   26   managers of both his former and current branches that the defendant could not pay
   27   overtime; (2) that he observed other putative class members at those branches being
   28   subjected to the same violations; and (3) that he knew of five other employees who
                                                    18
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 19 of 65 Page ID #:389



    1   did not receive overtime payments, three of whom worked at his two branches, and
    2   two of whom held positions he did not know and worked in branches where the
    3   plaintiff had not worked. Id. at *7–9. In addition, the plaintiff submitted copies of
    4   two other class action complaints in California alleging similar violations. Id. at *9.
    5   In response, the defendant provided extensive evidence of company-wide
    6   compliance with California labor laws, including copies of its California-compliant
    7   policies, manager and employee training materials and records, and declarations
    8   from company executives testifying to its compliant practices and manager training
    9   requirements. Id. at *9–10. On this evidence, the court concluded that the plaintiff
   10   had not provided sufficient evidence to support a claim of company-wide violations
   11   and, as such, denied discovery regarding the approximately 27,000 California-wide
   12   employees as “overly broad and unduly burdensome,” and permitted discovery only
   13   as to the 100 persons in the branches where the plaintiff worked. Id. at *10–12.
   14         A similar result was obtained in Coleman. There, a plaintiff who worked at
   15   two of the defendant’s California centers sought to represent a putative class of
   16   employees in all California centers, alleging that the defendant, “as a matter of
   17   established company policy and procedure” failed to pay its employees for all hours
   18   worked. Coleman, 2013 U.S. Dist. LEXIS 82815, at *4, 16. She supported her
   19   request for company-wide discovery through her own testimony, stating that “she
   20   was instructed by ‘the company’ or ‘the boss’” to work off-the-clock and that, in
   21   compliance with those instructions, she had her staff members do the same. Id. at
   22   *28–29. At the same time, the plaintiff testified that “although she could not
   23   confirm whether the improper overtime and break practices occurred at every center
   24   in the country, . . . she knew ‘that it happens in – especially every center [she’d]
   25   ever been to’ in her market.” Id. at *29. The court concluded that the plaintiff’s
   26   testimony that the alleged improper practices occurred at all of the defendant’s
   27   centers throughout the country was an assumption that was “insufficient to justify
   28   expanding discovery beyond Plaintiff’s market.” Id. On these facts, the court
                                                  19
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 20 of 65 Page ID #:390



    1   denied discovery regarding employees outside of the plaintiff’s market as “unduly
    2   burdensome.” Id. at *29–30.
    3         Likewise, in Tracy v. Dean Witter Reynolds, Inc., 185 F.R.D. 303, 303–04
    4   (D. Col. 1998), the court denied the expansion of discovery beyond the offices
    5   where the plaintiffs worked. There, the plaintiffs sought to represent a putative
    6   class of 8,000 employees at 400 nationwide offices, alleging that the defendant
    7   failed to pay overtime in violation of the Fair Labor Standards Act. Id. at 303–04.
    8   The court first reviewed the defendant’s written policies and found that they were
    9   compliant with the FLSA and were implemented on a national plane. Id. at 306–
   10   08. The court next reviewed the evidence that the plaintiffs submitted—affidavits
   11   from ten employees who worked in four offices and claimed to have similar
   12   overtime pay experiences—based upon which the plaintiffs asked the court to infer
   13   a national practice to deny overtime. Id. at 309–11. The court noted that the
   14   plaintiffs offered no evidence of a national policy to deny overtime pay and that,
   15   although the declarations established a few examples of employees who were not
   16   paid overtime, they neither supported the contention that such “failures were due to
   17   the implementation of a national policy,” nor eliminated other “variables which
   18   [could] affect the failure to receive overtime,” such as the absence of pre-approval,
   19   a failure to properly record hours worked, a failure to seek pay corrections, or a
   20   supervisor’s misunderstanding of the national policy. Id. at 311. In addition, the
   21   court concluded that, because the evidence showed nothing more than that ten
   22   employees in three offices (out of 8,000 employees in 400 offices) failed to receive
   23   overtime pay, an expansion of discovery based on this insufficient evidence would
   24   result in undue prejudice to the defendant. Id. at 312.
   25         The Court notes that the legal authorities discussed above involve only the
   26   question of whether discovery should extend beyond the location where a plaintiff
   27   worked, and not whether it should extend beyond the shift that a plaintiff worked.
   28   The Parties offer no authorities addressing the shift inquiry, and the Court is aware
                                                  20
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 21 of 65 Page ID #:391



    1   of none. That said, the Court believes (and it appears that the Parties do as well)
    2   that the same basic principles apply, and will analyze the shift question under the
    3   same framework.
    4
    5                2.    Discussion
    6                      a.     Plaintiff is Entitled to Pre-Certification Discovery
    7                             Regarding Employees at Both the City of Industry and
    8                             Union City Locations.
    9         In its discovery responses, Defendant objected to Plaintiff’s request to
   10   expand discovery beyond the City of Industry location where he worked on the
   11   ground that such discovery is unduly burdensome, oppressive, and harassing. (Mot.
   12   20, 25–26.) For the reasons set forth below, the Court overrules these objections.
   13         There is no dispute that Plaintiff never worked at Defendant’s Union City
   14   location. (See Trujillo Dep. 11.) Indeed, Plaintiff testified that he “has absolutely
   15   no knowledge of any of the wage and hour practices” at Union City in that “he
   16   never worked [there]” and he “confirmed that he never even spoken [sic] to any
   17   employees” at Union City. (Mot. 30 (emphasis in original); Trujillo Dep. 11.)
   18   Thus, to obtain California-wide discovery, Plaintiff must establish a California-
   19   wide policy or practice that violates the wage-and-hour laws at issue here. Despite
   20   his somewhat labored argument, the Court concludes that Plaintiff has met his
   21   burden.
   22         First, Plaintiff argues—through a series of questionable leaps in logic and
   23   without evidentiary support—that because Defendant’s practices allegedly are
   24   unlawful, its policies therefore are unlawful. He begins by noting that Defendant’s
   25   records identify one person as both its Payroll Director and as the person who
   26   produced timekeeping records in this litigation. (Mot. 11.) From this, he jumps to
   27   the conclusion that payroll and timekeeping records for both locations are managed
   28   by the same office, from which he further concludes that there exists a company-
                                                  21
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 22 of 65 Page ID #:392



    1   wide practice and policy that applies to all of Defendant’s employees in all of its
    2   California locations. (Id.) He supports this conclusion by noting that Defendant’s
    3   California Employee Handbook also makes no distinction between job positions,
    4   shifts, or facilities and was distributed company-wide regardless of location. (Id. at
    5   12.) Through this, Plaintiff claims to establish that Defendant’s policies are
    6   company-wide. (Id.)
    7             Plaintiff next turns to establishing that those company-wide policies are
    8   unlawful. He notes that Plaintiff’s records show he was not provided meal periods
    9   at the required time and was not paid for these violations; that Defendant has
   10   admitted that “no meal and rest premiums [were] paid to day warehouse workers
   11   who did not sign a release or arbitration agreement”; that “these violations were not
   12   isolated or sporadic”; that Defendant’s rest break policy is de facto unlawful
   13   because (a) it is silent regarding whether rest periods can be taken off-premises
   14   even though its meal period policy explicitly allows employees to go off-premises,
   15   (b) Plaintiff’s manager precluded him from taking rest breaks by assigning him
   16   tasks during his rest period, and (c) he was not paid for these violations. (Id. at 11–
   17   12.) By combining these “facts”—lacking in evidentiary support as they may be—
   18   with his earlier conclusion that Defendant’s policies are company-wide, Plaintiff
   19   claims to establish that Defendant has an unlawful company-wide policy of
   20   “disregard[ing] its obligation to pay meal and rest premiums when required.” (Id.
   21   at 12.)
   22             Given that the legal standard for determining whether pre-certification
   23   discovery should be permitted turns, in part, on the term “policy,” and in light of
   24   Plaintiff’s interchangeable use of the terms “policy” and “practice,” this is an
   25   appropriate place to clarify the difference between the two. The court in Tracy
   26   explains this distinction with such clarity in the context of pre-certification
   27   discovery in a wage-and-hour class action that the Court adopts it here:
   28   ///
                                                     22
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 23 of 65 Page ID #:393



    1                 In the context of this case, I understand the term “policy”
                      to refer to a rule, regulation or directive which has been
    2                 announced or published by [the defendant], either
    3                 verbally or in writing, to its local supervisors and/or
                      employees. I understand the term “practice” to refer to
    4                 that which supervisors or employees do, that is, their
    5                 actions, whether pursuant to policy or not. Thus, when
                      plaintiffs allege that [the defendant] has both a “policy
    6                 and practice” which unlawfully deprives employees of
    7                 overtime compensation . . ., I understand plaintiffs to
                      mean by the phrase “unlawful policy” that [the
    8                 defendant] has published or announced to supervisors
    9                 and employees through a handbook, letter, memo or
                      other means, that employees will not be paid for any
   10                 overtime hours that they work.
   11   Tracy, 185 F.R.D. at 305. In addressing the plaintiff’s claim that the defendant had
   12   a “de facto policy,” the Tracy court said:
   13
                      In the circumstances of this case, the phrase “de facto
   14                 policy” either blurs the distinction between policy and
   15                 practice, or attempts to blend the two, possibly because
                      there may be facts to support one of the words, but not
   16                 the other—evidence of practices, for example, but no
   17                 evidence of policy. Policy refers to that which is directed
                      through publication, while de facto refers to that which is
   18                 actually done. If fifty people are walking in the same
   19                 direction, that is the event, or de facto; if the fifty people
                      have been told by a single source to walk in a particular
   20                 direction, their common direction reflects that they are
   21                 walking pursuant to the directive, or policy. The
                      distinction needs to be kept in mind throughout the
   22                 dispute which arises from plaintiffs’ motion to extend
   23                 discovery, because fifty people walking in the same
                      direction may or may not be doing so pursuant to policy
   24                 or directive, depending upon the evidence which is
   25                 available.

   26   Id. at 306.
   27         Returning to our analysis and applying these principles, the Court concludes
   28   that Plaintiff’s reference to a de facto policy is actually a reference to a practice,
                                                     23
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 24 of 65 Page ID #:394



    1   and that Plaintiff’s conclusion about Defendant’s policies is actually a conclusion
    2   about its practices.
    3         This leaves no evidence before the Court regarding the first step in the
    4   analysis: whether Defendant’s California-wide policies are unlawful.
    5   Surprisingly—especially in light of the Court’s request to the Parties at the IDC
    6   referenced in footnote 7, supra—Defendant does not attach any of its California
    7   policies. (See generally Mot.) The only policy before the Court is Defendant’s rest
    8   break policy, which is buried in one of Plaintiff’s footnotes, and is used to support
    9   Plaintiff’s argument, as detailed above, that Defendant’s rest break practices create
   10   a de facto unlawful policy. (See Mot. 12–13 n.4.) Still, Defendant claims that its
   11   policies are “legally compliant,” that both facilities follow applicable wage and
   12   hour law, and that counsel for Plaintiff “expressly admitted this during the [IDC]
   13   with the Court.” (Mot. 31–32 (emphasis in original), 33; Aguirre Decl. ¶ 5.)
   14         Although it is Plaintiff’s burden to establish that Defendant’s policies or
   15   practices are unlawful, he neither provides evidence regarding Defendant’s
   16   unlawful policies nor rebuts Defendant’s declaration that its policies are lawful.
   17   (See generally Mot.) And, indeed, Defendant is correct that Plaintiff conceded
   18   during the IDC that Defendant’s policies are compliant. Even so, Plaintiff may
   19   obtain discovery regarding the Union City employees if he can convince the Court
   20   that Defendant engages in California-wide unlawful practices. See York v.
   21   Starbucks Corp., No. CV 08-7919-GAF (PJWx), 2011 U.S. Dist. LEXIS 155682, at
   22   *86–87 (C.D. Cal. Nov. 23, 2011) (reasoning that in light of defendant’s national
   23   policy prohibiting off-the-clock work, plaintiff “must present evidence of a
   24   systematic corporate-wide practice of forcing employees to work off-the-clock to
   25   meet Rule 23’s ‘commonality’ requirement.”)
   26           For this purpose, Plaintiff offers excerpts from his deposition testimony, the
   27   Tuttle Declaration, and the Pinkston Declaration. In his deposition, Plaintiff clearly
   28   states that his supervisors interrupted his meal periods two or three times per week
                                                  24
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 25 of 65 Page ID #:395



    1   and his rest breaks one or two times per week so that he could assist customers; that
    2   they prevented him from taking his rest breaks once a week so that he could assist
    3   customers; and that he worked off-the-clock when customers or delivery persons
    4   would arrive after he had clocked out, or to take pictures for his supervisor of
    5   packages that had not been picked up by 4:30 p.m. (Trujillo Depo. 3–10, 13.) But
    6   these facts establish only that Plaintiff suffered these violations, not that all
    7   California employees did.
    8         Defendant asserts that Plaintiff’s assumption—that “because he allegedly
    9   took meal breaks late or performed work after he clocked out, the same practices
   10   must have occurred at CWWC’s other California facilities”9—is “pure speculation”
   11   and “insufficient to meet [his] burden to show that he is entitled to discovery
   12   beyond the location where he worked.” (Mot. 30–31.) Indeed, Defendant is correct
   13   that other “courts have held in similar cases that limitations on location are
   14   appropriate.” (Mot. 31 (emphasis added).) But this case is not similar to the cases
   15   that Defendant cites: Nguyen, Franco, Martinet, Tracy, and Coleman. Unlike in
   16   those cases, discussed in detail above, Plaintiff here offers more than mere
   17   assertions of wrongdoing in both of Defendant’s locations. He produces evidence,
   18   through the Tuttle and Pinkston Declarations, that they, as Union City employees,
   19   suffered the same alleged wage-and-hour violations as Plaintiff.
   20         Mr. Tuttle worked as a Day Warehouse Worker in the Receiver position at
   21   the Union City facility for ten weeks, from June 4, 2017 until August 7, 2017.
   22   (Tuttle Decl. ¶¶ 2, 9.) He states that on average: his meal periods commenced late
   23   five times per week and he does not recall having received a premium payment for
   24   these violations (id. at ¶ 5); his supervisors interrupted his meal periods two or three
   25
   26
        9
   27    Although Defendant contends that this is Plaintiff’s assumption, it offers no
        evidence of such, and no such assumption appears in the Motion. (See generally
   28   Mot.)
                                                    25
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 26 of 65 Page ID #:396



    1   times per month, requiring that he assist in unloading trucks for at least five
    2   minutes, and he does not recall receiving a premium payment for these violations
    3   (id. at ¶ 6); he worked shifts of more than ten hours at least once a month but did
    4   not receive a second meal period on those days, does not recall signing a meal
    5   period waiver, and does not recall receiving a premium payment for these violations
    6   (id. at ¶ 7); and his supervisors interrupted his rest periods two or three times per
    7   month, requiring that he unload trucks during this time, and he does not recall
    8   receiving a premium payment for these violations (id. at ¶ 8). He also states that he
    9   was not paid all of his accrued but unused vacation upon his voluntary termination,
   10   and has not received that payment as of the September 4, 2020 date of his
   11   declaration. (Id. at ¶ 9.) He concludes that, based on his day-to-day observations at
   12   work,10 other employees had similar experiences. (Id. at ¶ 10.)
   13         Mr. Pinkston 11 has worked as a Night Warehouse Worker in the Order Picker
   14   position at the Union City facility since March 2019 until the present, although he
   15   currently is out on disability. (Pinkston Decl. ¶ 2.) He states that on average: he
   16   missed meal periods two times per month, and he does not recall receiving a
   17   premium payment for these violations (id. at ¶ 5); his meal periods commenced late
   18
   19   10
           Mr. Tuttle based this conclusion also on his “conversations with other Chefs’
   20   Warehouse employees.” (Id. at ¶ 10.) However, the Court disregards this
   21   statement as impermissible hearsay for which no hearsay exception is offered. See
        Fed. R. Evid. 801.
   22
        11
   23     Defendant objects to the Pinkston Declaration. It notes that Mr. Pinkston filed a
        separate action on behalf of himself and other Night Warehouse Workers at the
   24   Union City facility, and argues that this constitutes a concession that the Union City
   25   facility and night shift employees “should be treated separate and apart from this
        action.” (Mot. 33.) The Court disagrees. To begin with, Defendant offers no legal
   26   authority for this proposition, and the Court is aware of none. Moreover, even if
   27   this were a concession of anything—and the Court does not opine either way—it
        would be a concession by Mr. Pinkston because he filed the other action, not by
   28   Plaintiff who has nothing to do with that filing.
                                                   26
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 27 of 65 Page ID #:397



    1   four or five times per week, and he does not recall receiving a premium payment
    2   for these violations (id. at ¶ 6); his supervisor interrupted his meal periods on a few
    3   occasions, instructing him to complete assigned tasks, and he does not recall
    4   receiving a premium payment for these violations (id. at ¶ 7); he worked shifts of
    5   more than ten hours at least once a week but did not receive a second meal period
    6   on those days, does not recall signing a meal period waiver, and does not recall
    7   receiving a premium payment for these violations (id. at ¶ 8); he missed rest breaks
    8   one to three times per week, and does not recall receiving a premium payment for
    9   these violations (id. at ¶ 9); his rest period began late one or two times per week,
   10   and he does not recall receiving a premium payment for these violations (id. at
   11   ¶ 10); his rest periods were interrupted two to four times per week with work, and
   12   he does not recall receiving a premium payment for these violations (id. at ¶ 11); he
   13   never left the premises during his rest breaks, and he never saw any other employee
   14   at Union City leave the facility during a rest break (id. at ¶ 12). He concludes that,
   15   based on his day-to-day observations at work,12 other employees had similar
   16   experiences. (Id. at ¶ 13.)
   17         While the Court recognizes, as Defendant aptly points out, that the
   18   declarations of Messrs. Tuttle and Pinkston suffer from a certain (perhaps
   19   intentional) vagueness regarding possible defenses for Defendant—that although
   20   they took late meal periods, they were not required to do so by Defendant and
   21   Defendant did not fail to provide meal periods (Mot. 33); that although they did not
   22   take second meal periods, Defendant did not fail to provide second meal periods
   23   (id. at 34)—the Court concludes that their allegations of violations alone are
   24
   25
   26   12
          As did Mr. Tuttle, Mr. Pinkston based this conclusion also on his “conversations
   27   with other Chefs’ Warehouse employees.” (Id. at ¶ 10.) However, as with the
        Tuttle Declaration, the Court disregards this statement as impermissible hearsay for
   28   which no hearsay exception is offered. See Fed. R. Evid. 801.
                                                  27
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 28 of 65 Page ID #:398



    1   sufficient to open the door to discovery in Union City, even if Defendant ultimately
    2   can prove defenses to those allegations.
    3         Defendant contends that: the City of Industry and Union City facilities have
    4   separate management teams who set shift modules and break schedules; that each
    5   facility has unique practices suited to its operations; that the City of Industry
    6   facility is much larger than the Union City facility in terms of volume and call
    7   orders, and that, as a result, City of Industry employs more personnel; and that the
    8   Union City sales people more often pick up will call orders and deliver them to
    9   customers rather than the customers picking up the orders themselves. (Mot. 33–
   10   34; Aguirre Decl. ¶¶ 5–6. While all of this may be true, the probative value of this
   11   testimony, and whether and how it controverts the Tuttle and Pinkston
   12   Declarations, is not evident to the Court.
   13         Based on the foregoing, the Court OVERRULES Defendant’s objections,
   14   and concludes that Plaintiff is entitled to discovery that encompasses both the City
   15   of Industry and the Union City facilities.
   16
   17                       b.     Plaintiff is Entitled to Pre-Certification Discovery
   18                              Regarding Employees in Both the Day Shift and the Night
   19                              Shift.
   20         In its discovery responses, Defendant objected to Plaintiff’s request to
   21   expand discovery beyond the day shift in which he worked on the ground that such
   22   discovery is unduly burdensome, oppressive, and harassing. (Mot. 20, 25–26.) For
   23   the reasons set forth below, the Court overrules these objections.
   24         There is no dispute that Plaintiff never worked during the night shift.
   25   (Trujillo Dep. 12.) Regardless, Plaintiff contends that this makes no difference
   26   because the Day Warehouse Worker position is the same as the Night Warehouse
   27   Worker position. (Mot. 13–15.) He points to a Warehouse Worker job description
   28   (that was not provided to the Court) and notes that it makes no distinction between
                                                     28
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 29 of 65 Page ID #:399



    1   the day shift and the night shift. (Id. at 14–15.)13 In addition, Plaintiff contends
    2   that the Tuttle and Pinkston Declarations support his contention that Warehouse
    3   Workers from the day and night shifts performed the same duties as those found in
    4   the job description under which Plaintiff worked. (Id.) For example, Mr. Pinkston
    5   declares that he, as a Night Warehouse Worker, performed the following functions
    6   found in Plaintiff’s job description: reads customer order to determine items to be
    7   moved, gathered, or distributed; conveys materials and items from receiv[ing] areas
    8   to storage or to other designated areas; sorts and places materials or items on racks,
    9   shelves, or in bins accord[ing] to predetermined sequence or bar code; sorts
   10   perishable goods in refrigerated rooms; assembles customer orders from stock and
   11   places orders on pallets; sweeps and cleans warehouse areas; ensures outbound
   12   shipments are accurate and free of damage; and repairs pallets when necessary.
   13   (Compare Mot. 15 with Pinkston Decl. ¶ 4.) Moreover, Mr. Tuttle, as a Day
   14   Warehouse Worker, also performed functions that Mr. Pinkston, as a Night
   15   Warehouse Worker, performed: conveys materials and items from receiving areas
   16   to storage or to other designated areas; sorts perishable goods in refrigerated rooms;
   17   sweeps and cleans warehouse area; sorts, scans, and prepares shipments, ensures
   18   that the exact number of products is loaded and shipped; moves and stages product
   19   and materials using a hand pallet or other equipment; and operates all equipment in
   20   a safe and efficient manner following prescribed work methods. (Compare Tuttle
   21   Decl. ¶ 4 with Pinkston Decl. ¶ 4.)
   22         Defendant, on the other hand, contends that Plaintiff’s assertion that there is
   23   only one job description for both shifts “is moot” because Defendant has produced
   24
        13
   25     Plaintiff contends that his deposition testimony demonstrates that discovery
        should not be limited to employees in the Day Shift because he testified regarding
   26   the tasks he performed and his knowledge of the tasks assigned and performed by
   27   other Day Warehouse Workers. (Mot. 14.) However, neither the Motion nor the
        Trujillo Deposition contains evidence of this testimony. (See generally Mot.; see
   28   generally Trujillo Dep.) Accordingly, the Court disregards this argument.
                                                  29
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 30 of 65 Page ID #:400



    1   a job description for each of the day and night shifts. (Mot. 35.) Defendant did not
    2   provide these job descriptions to the Court (see generally Mot.), but nevertheless
    3   contends that the duties of the Day Warehouse Workers differ from those of the
    4   Night Warehouse Workers (Mot. 34–35; Aguirre Decl. ¶ 7). As Defendant
    5   explains: Night Warehouse Workers do not have any interactions with either third
    6   party logistics companies, such as FedEx or UPS, or customers; Day Warehouse
    7   Workers are assigned different duties depending on experience, preference, and
    8   company need, such as order selecting; only one Day Warehouse Worker is
    9   assigned to Will Call on a long-term basis, being the only person who interacts with
   10   customers or logistics companies, and this job generally does not change; and, Will
   11   Call at the City of Industry closes at noon so that all workers can take their thirty-
   12   minute break without interruption, and then closes altogether at 1:00 p.m. or 2:00
   13   p.m. (Mot. 34–35; Aguirre Decl. ¶¶ 7–12.) As with the discussion about the two
   14   locations, while all of this may be true, these distinctions do not effectively rebut
   15   Plaintiff’s contentions that the Day and Night Warehouse Workers generally
   16   perform the same job.
   17         Based on the foregoing, the Court OVERRULES Defendant’s objections,
   18   and concludes that Plaintiff is entitled to discovery that encompasses both the day
   19   and night shifts.
   20
   21                       c.     Plaintiff is Entitled to Pre-Certification Discovery
   22                              Regarding Employees Who Signed Settlement
   23                              Agreements.
   24         In its discovery responses, Defendant objected to Plaintiff’s request for
   25   discovery regarding employees who signed settlement agreements that released the
   26   claims alleged here (Mot. 20, 25–26), on the theory, as explained during multiple
   27   informal discovery conferences, that, because they released their claims, they
   28   ///
                                                   30
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 31 of 65 Page ID #:401



    1   cannot be part of the putative class. For the reasons set forth below, the Court
    2   overrules this objection.
    3         The Parties’ dispute with respect to the discoverability of information
    4   regarding persons who signed settlement agreements centers on Defendant’s
    5   settlement campaign, which apparently was instituted after this lawsuit was filed.14
    6   According to Defendant, it made offers to the putative class members to settle the
    7   claims raised in this class action pursuant to Chindarah v. Pick Up Stix, 171 Cal.
    8   App. 4th 796 (2009) (“Pick Up Stix”).15 (Mot. 39.) The agreement entered into by
    9   Defendant with some, as yet unidentified, portion of the class provides the
   10   following release:
   11
                     [B]y signing this agreement, you confirm that the
   12                Company provided you with all meal and rest periods in
                     accordance with their written policy, reimbursed all of
   13
                     your business expenses (including cell phone and
   14                mileage expenses), paid you all wages that you earned
                     (including overtime and vacation), timely paid you all
   15
                     earned wages upon your termination, provided you with
   16                accurate wage statements/payroll records, and maintained
   17   14
          Other than an excerpt from the agreement, the Motion is devoid of any
   18   information regarding the Defendant’s settlement campaign. (See generally Mot.)
   19   However, the Court details here the information provided by the Parties during the
        IDC.
   20
        15
   21      Pick Up Stix is a California case holding that a defendant, sued in a class action
        for wage-and-hour violations, may settle the claims with the individual putative
   22   class members before class certification. Pick Up Stix, 171 Cal. App. 4th at 803.
   23   The process through which a defendant attempts to settle the claims individually
        with each of the putative class members has become widely known as a “Pick Up
   24   Stix campaign,” and the resulting settlement, as referenced by Defendant, a “Pick
   25   Up Stix settlement.” (See Mot. 39.) Employee advocates often challenge Pick Up
        Stix campaigns to invalidate the releases. See, e.g., Marino v. CACafe, Inc., No. 16-
   26   cv-6291 YGR, 2017 U.S. Dist. LEXIS 64947, at *5–7 (N.D. Cal. Apr. 28, 2017)
   27   (invalidating releases based upon a finding that the defendant’s pre-certification
        communications with the putative class members were misleading and omitted
   28   material information).
                                                 31
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 32 of 65 Page ID #:402



    1                 accurate payroll records. You also confirm that you are
                      not an aggrieved employee under PAGA.
    2
    3   (Id.)
    4           Defendant contends that any putative class member who entered into this
    5   agreement has released all claims against Defendant and, by confirming that he or
    6   she is not an “aggrieved employee” under PAGA, is precluded from pursuing
    7   PAGA penalties through this representative action. (Id. at 37–39.) Defendant then
    8   concludes that Plaintiff should be entitled to discovery regarding only those persons
    9   who possibly could be in the putative class—that is, according to Defendant, those
   10   who did not release their claims. (Id.)
   11           The obvious implication from this dispute is that the size of the putative class
   12   is of grave consequence to the Parties. If the putative class is too small, Plaintiff
   13   may not be able to establish the numerosity requirement of Rule 23, which could be
   14   the death knell to the class action. And, even if the class is certified, the smaller the
   15   certified class, the smaller the recovery in the case. In an apparent effort to
   16   maximize the size of the class, Plaintiff advances two legal theories, both of which
   17   implicate the relevancy of the discovery he seeks and the ultimate decision
   18   regarding the scope of discovery to which he is entitled.
   19           First, as stated during the IDC but not in the Motion, Plaintiff argues that
   20   Defendant’s Pick Up Stix campaign is procedurally improper, and therefore any
   21   releases resulting from that campaign are unenforceable. At the IDC, Defendant
   22   acknowledged Plaintiff’s intent to challenge its Pick Up Stix campaign. The result
   23   of Plaintiff’s theory, if proven, could be that the putative class is not reduced by
   24   those who signed these releases, and instead remains fully intact (whatever that size
   25   might be). In this case, the scope of discovery would encompass, subject to other
   26   considerations, the entire class.
   27           Alternatively, Plaintiff argues, both at the IDC and here, that even if the Pick
   28   Up Stix campaign was not procedurally improper—meaning that the releases would

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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 33 of 65 Page ID #:403



    1   be found enforceable—the release of PAGA penalty claims is unenforceable
    2   because PAGA claims cannot be released pursuant to the California Supreme
    3   Court’s recent decision in Kim v. Reins Int’l California, Inc., 9 Cal. 5th 73 (2020)
    4   (“Reins”). (Mot. 17–19.) The result of this theory could be that the putative class
    5   would be reduced, but only by the number of persons who fall outside of the PAGA
    6   period (however many persons that might be). Under this theory, the scope of
    7   discovery could encompass a smaller putative class than under the first theory, but
    8   either way, contrary to Defendant’s argument, Plaintiff would be entitled to
    9   discovery regarding some or all of the putative class.
   10         For reasons unknown to the Court, despite the many hours discussing this
   11   issue during multiple informal discovery conferences, the Parties focus their
   12   argument in the Motion solely on the question of whether an employee may, after
   13   Reins, release his or her PAGA penalty claims through a settlement campaign.
   14   (Mot. 17–19; 37–39.) But this ignores the more fundamental question—whether
   15   the settlement agreement is enforceable in the first instance. If it is not, whether an
   16   employee can release his or her PAGA penalty claim is of no consequence. Given
   17   the amount of time the Parties and the Court have discussed this issue without
   18   formal resolution, the Court recognizes that ignoring it altogether could result in a
   19   further, downstream discovery dispute that eventually would require further
   20   briefing and a further Order. Accordingly, in the interest of securing the just,
   21   speedy, and inexpensive determination of the action (see Fed. R. Civ. P. 1), the
   22   Court will address this argument.
   23         As a starting point, the Court does not here decide the enforceability of
   24   Defendant’s Pick Up Stix agreements. Nor does the Court opine on whether Pick
   25   Up Stix is the proper standard for evaluating a federal defendant’s pre-certification
   26   communication with putative class members and the enforceability of any resulting
   27   agreements. Both are issues for class certification that will be decided by the
   28   presiding District Judge. For now, the Court addresses only whether discovery
                                                  33
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 34 of 65 Page ID #:404



    1   should be permitted as to the persons who entered into these settlement agreements
    2   and thereby purportedly released the claims raised here.
    3         Plaintiff’s argument, as stated during the Court’s informal discovery
    4   conferences, is that he should be entitled to access the putative class members who
    5   signed settlement agreements in order to develop his theory that Defendant’s Pick
    6   Up Stix campaign was improper. Defendant contends that Plaintiff does not need
    7   access to the putative class members for this purpose because he can argue against
    8   the enforceability of the agreements based solely on the language of the agreement,
    9   an exemplar of which Defendant has produced to Plaintiff. (Mot. 39.) Here, the
   10   Court disagrees with Defendant.
   11         It is correct that, in some circumstances, the language of the agreement itself
   12   can provide the basis of invalidity. See, e.g., Camp v. Alexander, 300 F.R.D. 617,
   13   625–26 (N.D. Cal. 2014) (invalidating opt-outs where the employer’s letter to the
   14   putative class members described the lawsuit’s potential negative effect on the
   15   business if the employees participated); County of Santa Clara v. Astra USA, Inc.,
   16   No. C 05-03740 WHA, 2010 U.S. Dist. LEXIS 78312, at *15–22 (N.D. Cal. July 8,
   17   2010) (invalidating pre-certification releases where the employer’s letter did not
   18   provide sufficient details about the case); Burford v. Cargill, No. 05-0283, 2007
   19   U.S. Dist. LEXIS 1679, at *5–6 (W.D. La. Jan. 9, 2007) (finding misleading a
   20   communication to putative class members that did not advise of the pending
   21   putative class action and ordering it jointly re-written).
   22         However, the circumstances surrounding how the releases were obtained can
   23   provide another, independent basis of invalidity. See, e.g., Guifi Li v. A Perfect Day
   24   Franchise, Inc., 270 F.R.D. 509, 517–19 (N.D. Cal. 2010) (invalidating opt-outs
   25   obtained during a mandatory meeting with employees that was deemed coercive);
   26   Wang v. Chinese Daily News, 236 F.R.D. 485, 488–89 (C.D. Cal. 2006), rev’d on
   27   other grounds, 709 F.3d 829 (9th Cir. 2012) (deeming inherently coercive the one-
   28   on-one, mandatory workplace meetings through which opt-outs were obtained and
                                                   34
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 35 of 65 Page ID #:405



    1   invalidating the opt-outs). Thus, even though Defendant has produced an exemplar
    2   of the settlement agreement to Plaintiff, he still is entitled to have access to the
    3   persons who entered into these agreements in order to explore this potential aspect
    4   of invalidity.
    5         Based on the foregoing, the Court OVERRULES Defendant’s objection, and
    6   concludes that Plaintiff is entitled to discovery regarding employees who signed
    7   settlement agreements.
    8
    9                       d.     Plaintiff Is Entitled to Pre-Certification Discovery
   10                              Regarding Employees Who Signed Arbitration
   11                              Agreements with Class Action Waivers.
   12         In its discovery responses, Defendant objected to Plaintiff’s request for
   13   discovery regarding employees who signed arbitration agreements with class action
   14   waivers (Mot. 20, 25–26) on the theory, as explained during the various informal
   15   discovery conferences, that, because they are precluded from proceeding on a class
   16   or collective basis, they cannot be part of the putative class. In the Motion,
   17   Defendant argues that “[t]he scope of discovery should exclude those putative class
   18   members who signed such agreements because Plaintiff’s claims are not typical of
   19   the claims of those individuals, and Plaintiff is not an adequate representative of
   20   those individuals.” (Id. at 40.) For the reasons set forth below, the Court overrules
   21   Defendant’s objections to this discovery.
   22         Although Defendant asserts that it has produced an exemplar of the
   23   arbitration agreement at issue (see Mot. 40), Defendant has failed to provide this
   24   exemplar to the Court (see generally Mot.). Thus, in an effort to add clarity to this
   25   discussion, the Court notes that a class action waiver contained in such an
   26   agreement generally is an agreement by the employee to proceed with any claims
   27   via individualized arbitration proceedings, rather than on a class, collective or
   28   representative basis, as the agreement may provide. See Azeveda v. Comcast Cable
                                                    35
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 36 of 65 Page ID #:406



    1   Communs. LLC, No. 5:19-cv-01225-EJD, 2019 U.S. Dist. LEXIS 177765, at *19–
    2   20 (N.D. Cal. Oct. 11, 2019) (enforcing class action waiver and holding that,
    3   thereunder, plaintiff had waived his right to bring a class action). Here, Defendant
    4   notes that its arbitration agreement contains an opt-out provision. (Mot. 40.) The
    5   Court notes that such a provision generally gives the employee an opportunity to
    6   take affirmative steps to opt-out of the arbitration agreement without suffering
    7   adverse consequence of forfeiting his or her right to a court or jury. See, e.g.,
    8   Vigueras v. Red Robin Int’l, SACV 17-01422 JVS (DFMx), 2019 U.S. Dist. LEXIS
    9   54432, at *6, 11–12 (C.D. Cal. Feb. 21, 2019) (holding that opt-out provision in
   10   plaintiff’s arbitration agreement prevented a finding that the agreement was
   11   procedurally unconscionable).
   12         Defendant is correct that Plaintiff fails to address the class action waiver
   13   issue in the Motion. (Mot. at 40.) Still, Defendant acknowledges that Plaintiff
   14   intends to challenge the enforceability of the arbitration agreement that contains
   15   that class action waiver. (Id.) As the Court did with the settlement agreement
   16   discussion, the Court will address this issue to avoid future discovery disputes. See
   17   Fed. R. Civ. P. 1.
   18         The Court recognizes that the weight of authority supports Defendant’s
   19   argument that Plaintiff, who apparently is not subject to an arbitration agreement
   20   with a class action waiver, could be found to not be an adequate representative of
   21   individuals who are so bound, and that his claims could be found to not be typical
   22   of the claims of those individuals. See Avilez v. Pinkerton Gov’t Servs., Inc., 596 F.
   23   App’x 579, 579 (9th Cir. 2015) (holding that the district court abused its discretion
   24   by certifying classes and subclasses that included employees who had signed class
   25   action waivers, on the ground that the named plaintiff was not an adequate
   26   representative of these individuals because she had not signed such a waiver); see
   27   also Tschudy v. J.C. Penny Corp., No. 11-cv-1011 JM (KSC), 2015 U.S. Dist.
   28   LEXIS 165897, at *11–12 (S.D. Cal. Dec. 9, 2015) (holding that named plaintiffs
                                                  36
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 37 of 65 Page ID #:407



    1   failed to satisfy typicality and adequacy requirements of Rule 23(a) where the
    2   putative class members were subject to arbitration provisions while the named
    3   plaintiff was not); Quinlan v. Macy’s Corp. Servs., No CV1200737DDPJCX, 2013
    4   U.S. Dist. LEXIS 164724, at *7–9 (C.D. Cal. Aug. 22, 2013) (finding that the
    5   named plaintiff could not satisfy Rule 23’s typicality requirement in part because
    6   95% of the putative class of 84,000 was subject to an arbitration agreement while
    7   he was not). But these decisions concern class certification—not pre-certification
    8   discovery—and Defendant provides no legal authority limiting pre-certification
    9   discovery regarding putative class members who are subject to a class action
   10   waiver.
   11         To the contrary, recent cases by district courts in this Circuit have held
   12   otherwise. In Adamov v. Pricewaterhouse Coopers LLP, No. 2:13-cv-01222-TLN-
   13   AC, 2017 U.S. Dist. LEXIS 211210, at *8 (E.D. Cal. June 5, 2019), the plaintiff
   14   sought class contact information for all putative class members, including those
   15   who were subject to arbitration agreements. The court rejected the defendant’s
   16   argument that the plaintiff lacked standing to challenge an arbitration agreement to
   17   which he was not subject, and allowed class-wide discovery. Id. at *8–11. The
   18   court reasoned:
   19
                     Defendant’s own argument best presents the conundrum:
   20                “The validity/enforceability of [Defendant’s] arbitration
                     program cannot be adjudicated until after class
   21
                     certification proceedings, and only if the class includes
   22                individuals who are bound by arbitration agreements.”
                     Defendant is correct that the issue of whether individuals
   23
                     are bound by the arbitration agreement can be part of the
   24                class only arises if the class actually includes potentially
                     bound members. The issue here is whether plaintiff is
   25
                     entitled to discovery that may lead to such individuals
   26                actually being included in the class. To prevent this
                     discovery would amount to a premature decision on the
   27
                     issue of the arbitration agreement’s applicability, by
   28
                                                  37
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 38 of 65 Page ID #:408



    1                limiting plaintiff’s ability to include potentially-bound
                     individuals in the class.
    2
    3   Id. at *10–11 (citations omitted). The court also found that the plaintiff was
    4   entitled to discovery surrounding the agreement because the parties disputed the
    5   validity of the agreement. Id. at *8. The court explained that:
    6                whether or not the arbitration program is proper and/or
    7                effective[] are matters properly brought before the district
                     judge in this case. The court reminds the parties that this
    8                is a discovery dispute, and the ultimate issue of the
    9                arbitration agreement is not before the undersigned.
   10   Id. at *9.
   11          Similarly, the plaintiff in Sansone v. Charter Communications, Inc., No. 17-
   12   cv-01880-WQH-JLB, 2019 U.S. Dist. LEXIS 19452, at *22–23 (S.D. Cal. Feb. 6,
   13   2019), also sought class contact information for the putative class members,
   14   including those who had executed an arbitration agreement applicable to the claims
   15   brought in the action. The court allowed this discovery, reasoning that “[b]y
   16   communicating with putative class members, Plaintiffs will be able to gather
   17   information related to the enforceability of the arbitration agreement, which may be
   18   at issue during the certification stage.” Id. at *25 (citing Adamov, 2017 U.S. Dist.
   19   LEXIS, at *4).
   20          Defendant argues, without citing legal authority, that, because it provided to
   21   Plaintiff an exemplar of its arbitration agreement, he has what he needs to challenge
   22   the agreement, and further discovery should be denied. (Mot. 40.) However, this is
   23   inconsistent with the above legal authorities. Based upon those authorities, the
   24   Court concludes that giving Plaintiff access to the employees who entered into the
   25   arbitration agreements will allow Plaintiff an opportunity to explore the facts
   26   regarding the agreement’s validity.
   27   ///
   28   ///
                                                  38
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 39 of 65 Page ID #:409



    1         Based on the foregoing, the Court OVERRULES Defendant’s objection, and
    2   concludes that Plaintiff is entitled to discovery regarding employees who are
    3   subject to arbitration agreements with class action waivers.
    4
    5                                               ***
    6         On the basis of the above discussion, the Court concludes that Plaintiff is
    7   entitled to pre-certification discovery, as detailed below, regarding all of
    8   Defendant’s employees who work or worked as Warehouse Workers, at either or
    9   both of Defendant’s City of Industry and Union City locations, in either or both day
   10   or night shifts, regardless of whether they signed settlement agreements releasing
   11   Defendant from the claims asserted here or signed arbitration agreements with class
   12   action waivers, for the period from July 22, 2015 to the present. As shorthand
   13   going forward in this Order, the Court will refer to this group of persons as the
   14   “Relevant Employees.”
   15         The Court now turns to the determination of whether Plaintiff is entitled to
   16   the specific discovery he seeks as to the Relevant Employees.
   17
   18         C.     The Court Grants Plaintiff’s Request to Compel Defendant’s
   19                Supplemental Responses to Interrogatory No. 1 Regarding the
   20                Relevant Employees.
   21         Plaintiff seeks an order compelling Defendant to supplement its response to
   22   Interrogatory No. 1, which asks Defendant to:
   23                Set forth the full name, employment position(s), last
                     known home address, and last known telephone numbers,
   24
                     including but not limited to, home telephone numbers
   25                and cellular telephone numbers of each and every
                     COVERED EMPLOYEE who was employed by
   26
                     DEFENDANT during the RELEVANT TIME PERIOD.
   27
   28   ///
                                                  39
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 40 of 65 Page ID #:410



    1   (Mot. 20.) Plaintiff advises the Court that, pursuant to a compromise reached by
    2   the Parties, he will be propounding a revised version of this interrogatory that will
    3   retain the same language add but a request for employment dates. (Id. at 20 n.14.)
    4   For the reasons set forth below, the Court GRANTS this request.
    5
    6                1.      Legal Standard
    7         Rule 26(b)(1) governs the scope of discovery in federal cases. It states:
    8                     Unless otherwise limited by court order, the scope of
    9                     discovery is as follows: Parties may obtain discovery
                          regarding any nonprivileged matter that is relevant to
   10                     any party’s claim or defense and proportional to the
   11                     needs of the case, considering the importance of the
                          issues at stake in the action, the amount in
   12                     controversy, the parties’ relative access to relevant
   13                     information, the parties’ resources, the importance of
                          the discovery in resolving the issues, and whether the
   14                     burden or expense of the proposed discovery
   15                     outweighs its likely benefit. Information within this
                          scope of discovery need not be admissible in evidence
   16                     to be discoverable.
   17   Fed. R. Civ. P. 26(b)(1). Rule 401 of the Federal Rules of Evidence provides that
   18   evidence is relevant if: “(a) it has any tendency to make a fact more or less
   19   probable than it would be without the evidence; and (b) the fact is of consequence
   20   in determining the action.” Fed. R. Evid. 401.
   21         In addition to relevance, Rule 26(b)(1) requires that the discovery be
   22   proportional to the needs of the case. Fed. R. Civ. 26(b)(1). Proportionality is
   23   determined by a consideration of the following factors: “the importance of the
   24   issues at stake in the action, the amount in controversy, the parties’ relative access
   25   to relevant information, the parties’ resources, the importance of the discovery in
   26   resolving the issues, and whether the burden or expense of the proposed discovery
   27   outweighs its likely benefit.” Id. “Information within this scope of discovery need
   28   not be admissible in evidence to be discoverable.” Id.
                                                  40
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 41 of 65 Page ID #:411



    1         Once the propounding party establishes that its discovery requests satisfies
    2   the relevance test of Rule 26(b)(1), the party resisting the discovery “has the burden
    3   to show discovery should not be allowed, and has the burden of clarifying,
    4   explaining, and supporting its objections.” Superior Commc’ns v. Earhugger, Inc.,
    5   257 F.R.D. 215, 217 (C.D. Cal. 2009); see also Blankenship v. Hearst Corp., 519
    6   F.2d 418, 429 (9th Cir. 1975) (requiring defendants “to carry a heavy burden of
    7   showing why discovery was denied.”).
    8         The court “must limit the frequency or extent of discovery” pursuant to Rule
    9   26(b)(2)(C) if:
   10                     (i) the discovery sought is unreasonably cumulative or
   11                     duplicative, or can be obtained from some other
                          source that is more convenient, less burdensome, or
   12                     less expensive; (ii) the party seeking discovery has
   13                     had ample opportunity to obtain the information by
                          discovery in the action; or (iii) the proposed discovery
   14                     is outside the scope permitted by Rule 26(b)(1).
   15   Fed. R. Civ. P. 26(b)(2)(C).
   16         District courts have broad discretion to manage discovery. Laub v. U.S.
   17   Dep’t of Interior, 342 F.3d 1080, 1093 (9th Cir. 2003). Discovery rulings of a
   18   district court “will not be overturned in the absence of a clear abuse of discretion.”
   19   U.S. Fid. & Guar. Co. v. Lee Invs. L.L.C., 641 F.3d 1126, 1136 (9th Cir. 2011)
   20   (internal quotation marks and citation omitted). A court may, pursuant to this
   21   discretion, craft discovery orders that may expand, limit, or differ from the relief
   22   requested. Crawford-El v. Britton, 523 U.S. 574, 598–99 (1988); see also UMG
   23   Recordings, Inc. v. Doe, No. 08-1038 SBA, 2008 U.S. Dist. LEXIS 92788, at *9
   24   (N.D. Cal. July 30, 2008) (“In fashioning discovery orders under Rule 26(d), the
   25   district courts wield broad discretion, as they do when managing any aspect of
   26   discovery.”)
   27         In addition to the general discoverability standards, it long has been the rule
   28   that, in class actions, “before class certification has taken place, all parties are
                                                    41
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 42 of 65 Page ID #:412



    1   entitled to equal access to persons who potentially have an interest in or relevant
    2   knowledge of the subject of the action, but who are not yet parties.” Wiegele v.
    3   FedEx Ground Package Sys., No. 06cv1330-JM-POR, 2007 U.S. Dist. LEXIS
    4   9444, at *6 (S.D. Cal. Feb. 8, 2007) (citation and quotation omitted). Indeed,
    5   discovery of the contact information of putative class members routinely is allowed.
    6   See, e.g., Salgado v. Land O’Lakes, No. 1:13cv0798-LJO-SMS, 2014 U.S. Dist.
    7   LEXIS 175158, at *28–30 (E.D. Cal. Dec. 18, 2014) (collecting cases showing that
    8   “[c]ourts in this circuit have made it clear that precertification disclosure of class
    9   members’ contact information, such as names, addresses, telephone numbers, and
   10   email addresses, is routine practice in wage and hour class action litigation cases
   11   governed by Rule 23”); Artis, 276 F.R.D. at 352 (“The disclosure of names,
   12   addresses, and telephone numbers is a common practice in the class action
   13   context.”) (citing Currie-White v. Blockbuster, Inc., No. C 09-2593-MMCMEJ,
   14   2010 U.S. Dist. LEXIS 47071, at *7 (N.D. Cal. Apr. 15, 2010)); Putnam v. Eli Lilly
   15   & Co., 508 F. Supp. 2d 812, 814 (C.D. Cal. 2007) (holding that contact with class
   16   members is useful to determine commonality and typicality under Rule 23);
   17   Kaminske, 2010 U.S. Dist. LEXIS 141514, at *14 (noting that contact information
   18   for the putative class is relevant to “test Plaintiff’s theories regarding the
   19   commonality of Defendant’s practices.”); Ho v. Ernst & Young, LLP, No. C05-
   20   04867 JF (HRL), 2007 U.S. Dist. LEXIS 37700, at *5–6 (N.D. Cal. May 9, 2007)
   21   (“contact information is relevant to both the merits and class certification”)
   22   (emphasis in original); Sanbrook v. Office Depot, No. C 07-5938 RMW (PVT),
   23   2009 U.S. Dist. LEXIS 30852, at *2 (N.D. Cal. Mar. 30, 2009) (permitting
   24   discovery of class contact information because such persons could serve as
   25   percipient witnesses); Jimenez v. Domino’s Pizza, LLC, No. SACV 04-1107-JVS
   26   (RCx), 2006 U.S. Dist. LEXIS 66510, at *8 (C.D. Cal. Jan. 13, 2006) (granting
   27   discovery of class contact information as necessary to pursue certification of the
   28   class action); York v. Starbucks Corp., No. CV 08-7919-GAF (PJWx), 2009 U.S.
                                                   42
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 43 of 65 Page ID #:413



    1   Dist. LEXIS 92274, at *3–4 (C.D. Cal. Jun. 30, 2009) (granting discovery of class
    2   contact information so that the plaintiff could pursue her claims and ultimately
    3   those of other employees); see also Gulf Oil Co. v. Bernard, 452 U.S. 89, 101–02
    4   (1981) (holding that, even prior to class certification, counsel in Rule 23 class
    5   actions must be allowed to communicate with potential class members in order to,
    6   among other things, gather information).
    7         To obtain class contact information, a plaintiff need only show that access to
    8   putative class members “would aid in confirming [his or her] theories of liability
    9   and further developing evidence in support of class certification.” Sansone, 2019
   10   U.S. Dist. LEXIS 19452, at *17; see also Kaminske, 2010 U.S. Dist. LEXIS
   11   141514, at *14 (finding that class contact information is “relevant to aid in the
   12   identification and collection of . . . potentially common evidence, as well as to test .
   13   . . theories regarding the commonality of [a defendant’s] practices” and “sufficient
   14   to establish that the requested discovery is likely to produce persuasive information
   15   substantiating the class action allegations”).
   16
   17                2.     Plaintiff Satisfies His Burden of Establishing That His Request
   18                       for Class Contact Information Satisfies the Rule 26(b)(1)
   19                       Relevancy Test.
   20         Here, Plaintiff requests class contact information because “[contact with
   21   prospective class members] could lead to the discovery of admissible evidence
   22   relevant to the class certification issue.” 16 (Mot. 17 (alteration in original) (quoting
   23
   24   16
           The Court notes that, through the 2015 amendments to Rule 26(b), the rule no
   25   longer defines relevancy as information “reasonably likely to lead to the discovery
        of admissible evidence.” Fed. R. Civ. P. 26 advisory committee’s notes for 2015
   26   amendment. The test for relevancy after the 2015 amendment is whether evidence
   27   is “relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b).
        Notwithstanding Plaintiff’s use of the prior Rule 26(b) standard, the Court finds
   28   that Plaintiff satisfies his obligation to establish relevancy in that, as he asserts,
                                                   43
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 44 of 65 Page ID #:414



    1   Babbitt v. Albertson’s Inc., No. C-92-1883-SBAPJH, 1992 U.S. Dist. LEXIS
    2   19091, at *16–17 (N.D. Cal. Nov. 30, 1992).) Indeed, as the legal authorities
    3   amply support, Plaintiff is entitled to access to the putative class members so that
    4   he may obtain the information he needs to substantiate his class allegations or rebut
    5   Defendant’s opposition to class certification. See Wiegele, 2007 U.S. Dist. LEXIS
    6   9444, at *13 n.1 (“[T]he identified employees are likely percipient witnesses to
    7   Plaintiff’s wage and hour claims”).
    8
    9                3.     Defendant Does Not Meet Its Burden of Establishing That the
   10                       Discovery of Class Contact Information Should Be Prohibited
   11                       under Rule 26(b)(2).
   12         Finding that Plaintiff has met his burden of establishing the relevancy of the
   13   class contact information he seeks, the Court now turns to a determination whether
   14   Defendant has met its burden to show that the discovery must be prohibited and to
   15   clarify, explain, and support its objections. Superior Commc’ns v. Earhugger, 257
   16   F.R.D. 215, 217 (C.D. Cal. 2009); Bryant v. Ochoa, No. 07cv200 JM PCL, 2009
   17   U.S. Dist. LEXIS 42339, at *3 (S.D. Cal. May 14, 2009).
   18         In its response to Interrogatory No. 1, Defendant objected to the discovery of
   19   class contact information on multiple grounds, only two of which are asserted in
   20   this Motion: (1) this discovery constitutes merits discovery that should be
   21   “deferred until it is certain that the case will be allowed to proceed as a class
   22   action” (Mot. 36–38); and (2) this discovery invades a protectable privacy interest
   23   in this information (id. at 38–39). For the reasons stated below, the Court overrules
   24   both objections.
   25   ///
   26
   27
        class contact information is relevant to his “class certification issue”—a claim he
   28   must prove.
                                                   44
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 45 of 65 Page ID #:415



    1                       a.     Defendant’s “Merits Discovery” Objection Is Overruled.
    2         Defendant’s contention that the discovery of class contact information should
    3   be deferred until after the court has certified a class is not supported by its
    4   authorities. In re Rail Freight Fuel Surcharge Antitrust Litigation, 258 F.R.D. 167,
    5   168 (D. D.C. 2009), is not on point. There, the only question before the court was
    6   “whether bifurcated discovery [was] appropriate.” The defendants advocated for
    7   bifurcated discovery, arguing, among other things, that the court should decide
    8   whether to certify the class as quickly as possible because this would reduce costs
    9   in the long-run as the parties would be assured of the scope of the class, and that
   10   Defendant could effectively isolate the evidence necessary for class certification.
   11   Id. at 169–70. The plaintiffs argued against bifurcation, claiming, among other
   12   things, that class and merits discovery are indistinguishable and that bifurcated
   13   discovery would cause inefficiencies, disputes, and delays, thereby “bel[ying] the
   14   principles of judicial economy.” Id. at 170–72 (citations omitted). Contrary to
   15   Defendant’s assertion, the court never held that merits discovery should be deferred
   16   until after a class is certified. (See Mot. 40.) Instead, in denying the defendant’s
   17   request for bifurcation, the court crafted a compromise plan that allowed both pre-
   18   certification and merits discovery to proceed in tandem, but limited the duration of
   19   the pre-certification discovery period such that the merits discovery obtained during
   20   that period would be “no greater than it has to be.” In re Rail, 258 F.R.D. at 176.
   21   Nowhere did the court in In re Rail discuss class contact information, let alone
   22   contemplate that its discovery should be deferred until after class certification. See
   23   generally id.
   24         Micro Motion, Inc. v. Kane Steel Co., 894 F.2d 1318 (Fed. Cir. 1990), also
   25   does not help Defendant. Micro Motion sought non-party sales and product
   26   information claiming it was relevant to the issue of lost profits damages in its patent
   27   infringement case against Kane Steel, noting that Micro Motion might have to
   28   prove that the non-party’s products were themselves infringements or unacceptable
                                                   45
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 46 of 65 Page ID #:416



    1   non-infringing substitutes. Id. at 1321. The only issue before the court was the
    2   relevancy of that information to Micro Motion’s damages. See id. at 1326–27. The
    3   court did note, as Defendant contends, that “the discovery rules are designed to
    4   assist a party to prove a claim it reasonably believes to be viable without discovery,
    5   not to find out if it has any basis for a claim.” (Mot. 40 (quoting Micro Motion, 894
    6   F.2d at 1327 (emphasis omitted)).) But the court’s holding that the discovery was
    7   not relevant was premised on its finding that Micro Motion’s claim was based
    8   solely on unfounded suspicion, and that it was “trolling” for new claims. Micro
    9   Motion, 894 F.2d at 1327. This is probative of nothing here, where, instead,
   10   Plaintiff has established that (1) his wage-and-hour claims are not premised on
   11   unfounded suspicion, but rather, at the very least, on his own experiences; and (2)
   12   the class contact information is not sought to develop new claims, but rather, to
   13   support already existing claims. (See Mot. 11–15; see generally Compl.) Indeed,
   14   Defendant ignores the reasoning of the Micro Motion court that is more on point
   15   here: “Clearly[,] discovery is allowed to flesh out a pattern of facts already known
   16   to a party relating to an issue necessarily in the case.” Id. at 1326. Thus, if
   17   anything, Micro Motion supports Plaintiff’s argument that class contact information
   18   is discoverable.
   19         In addition, Defendant’s authorities noting that courts in this Circuit have
   20   denied class contact information at the pre-certification stage are inapposite. (See
   21   Mot. at 41.) In Hatch v. Reliance Insurance Co., 758 F.2d 409, 415–16 (9th Cir.
   22   1985), the Ninth Circuit did, as Defendant contends, uphold the district court’s
   23   decision to deny the plaintiff’s attempt to obtain the names of similarly-situated
   24   investors, but it did so because the district court first had denied class certification
   25   based on the incompetency of counsel, and because, in requesting this information
   26   from a third party, the plaintiff improperly used a Rule 34 document request. In
   27   Palmer v. Stassinos, No. 5:04-cv-3026 RMW (RS), at *9–13, 2005 U.S. Dist.
   28   LEXIS 41270 (N.D. Cal. May 18, 2005), the district court did, as Defendant
                                                   46
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 47 of 65 Page ID #:417



    1   contends, deny the disclosure of class contact information, but it did so because the
    2   plaintiff already had been provided information that would inform the Rule 23
    3   factors of numerosity and typicality. In Mandrigues v. World Savings, Inc., No. C
    4   07-4497 JF (RS), 2008 U.S. Dist. LEXIS 134780, at *6–7 (N.D. Cal. June 20,
    5   2008), the district court did, as Defendant contends, deny the disclosure of class
    6   contact information at the pre-certification stage, but it did so because, as in the
    7   Palmer case, “it [did] not appear that the identities of class members [were]
    8   required to enable plaintiffs to file a motion for class certification.” In Krzesniak v.
    9   Cendant Corp., No. C 05-5156 MEJ, 2007 WL 756905, at *1 (N.D. Cal. Mar. 8,
   10   2007), the district court did, as Defendant contends, deny pre-certification class
   11   contact information, but it did so stating that “good cause [might] exist to permit
   12   the requested discovery were Plaintiff and his counsel unable to locate and
   13   interview any putative class members,” and noting that the plaintiff testified that he
   14   already had spoken to six of the seventy-six putative class members. Thus, none of
   15   these cases support Defendant’s argument that class contact information should be
   16   denied merely because it is requested at the pre-certification stage. (Mot. 41.) To
   17   the contrary, they support Plaintiff’s request for class contact information: class
   18   certification has not been denied as in Hatch; Plaintiff has not been provided other
   19   information that could inform the Rule 23 factors as in Palmer and Mandrigues;
   20   and there is no evidence that Plaintiff already has spoken to almost 8% (6/76) of the
   21   putative class members.
   22         On this basis, Defendant’s “merits discovery” objection is OVERRULED.
   23
   24                       b.     Defendant’s Privacy Objection Is Overruled.
   25         Defendant’s argument that the discovery of class contact information invades
   26   a protectable privacy interest (Mot. 42–43) is not tenable under current law.
   27         In diversity actions, state law governs questions involving a privacy
   28   privilege. Goro v. Flowers Foods, Inc., 334 F.R.D. 275, 287 n.12 (S.D. Cal. 2018);
                                                   47
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 48 of 65 Page ID #:418



    1   see generally Fed. R. Evid. 501. In California, that privilege is founded in Article I,
    2   section I of the California Constitution. Cal. Const., art. I, § 1; see also Goro, 334
    3   F.R.D. at 286–87. But this right of privacy is not absolute. See Hill v. Nat’l
    4   Collegiate Athletic Ass’n, 7 Cal. 4th 1, 37 (1994). The framework for assessing
    5   privacy claims, as set forth by the California Supreme Court, is as follows. First,
    6   “the claimant must possess a ‘legally protected privacy interest,’ such as “‘an
    7   interest in precluding the dissemination or misuse of sensitive and confidential
    8   information.’” Pioneer Elecs. (USA), Inc. v. Superior Ct., 40 Cal. 4th 360, 370
    9   (2007) (quoting Hill, 7 Cal. 4th at 35). Second, the claimant must have “a
   10   reasonable expectation of privacy under the particular circumstances,” founded on
   11   “broadly based and widely accepted community norms.” Id. at 370–71 (quoting
   12   Hill, 40 Cal. 4th at 37). Third, the invasion of privacy must be “serious.” Id. at 371
   13   (quoting Hill, 40 Cal. 4th at 37). Fourth, the privacy interest must outweigh the
   14   countervailing interests, such as discovery rights. See id.
   15         In Belaire-West Landscape, Inc. v. Superior Court, 149 Cal. App. 4th 554
   16   (2007), the court held that, in the wage-and-hour class action context, employees
   17   have a legally protected privacy interest, but could “reasonably be expected to want
   18   their information disclosed to a class action plaintiff who may ultimately uncover
   19   for them unpaid wages that they are owed.” Id. at 561. The court also held that
   20   these privacy interests are sufficiently protected by providing the putative class
   21   members with a notice requiring that they opt out if they do not want their contact
   22   information disclosed to a class action plaintiff. Id. at 561–62.
   23         Ten years later, the California Supreme Court affirmed the Belaire-West
   24   decision in Williams v. Superior Court, 3 Cal. 5th 531, 553–35 (2017), and held
   25   that a Belaire-West notice was sufficient to protect the privacy interests of putative
   26   class members and aggrieved employees under PAGA. The court stated:
   27
                     In wage and hour collective actions, fellow employees
   28                would not be expected to want to conceal their contact
                                                  48
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 49 of 65 Page ID #:419



    1                 information from plaintiffs asserting employment law
                      violations, the state policies in favor of effective
    2                 enforcement of these laws weigh on the side of
    3                 disclosure, and any residual privacy concerns can be
                      protected by issuing so-called Belaire-West notices
    4                 affording notice and an opportunity to opt out from
    5                 disclosure.
    6   Id. at 553.
    7         After balancing the privacy interests at issue against the “fundamental public
    8   policy underlying California’s employment laws” and the “general public interest in
    9   facilitating the ascertainment of truth in connection with legal proceedings and in
   10   obtaining just results in litigation,” the courts have concluded that an opt-out
   11   system such as that enunciated in Belaire-West permits the disclosure of not only
   12   the names of putative class members, but also their addresses and telephone
   13   numbers. Puerto v. Superior Court, 158 Cal. App. 4th 1242, 1256 (2008) (internal
   14   quotation marks and citation omitted). In Alch v. Superior Court, 165 Cal. App. 4th
   15   1412, 1432–34 (2008), the court added to the list of permissible disclosures, among
   16   many other categories, work history information, including the identity of specific
   17   employers, job titles, periods of employment, credits, and awards.
   18         Some federal courts in this circuit have adopted the Belaire-West opt-out
   19   notice procedure for employment class actions. See, e.g., Nguyen, 275 F.R.D. at
   20   512; Arredondo v. Sw. & Pac. Specialty Fin., Inc., No. 1:18-cv-01737-DAD-SKO,
   21   2019 U.S. Dist. LEXIS 200750, at *11–12 (E.D. Cal. Nov. 18, 2019); Aldapa v.
   22   Fowler Packing Co., 310 F.R.D. 583, 588 (E.D. Cal. 2015); Murphy v. Target
   23   Corp., No. 09cv1436-AJB (WMc), 2011 U.S. Dist. LEXIS 62458, at *12 (S.D. Cal.
   24   June 14, 2011).
   25         On the other hand, some federal courts have declined to do so, finding that a
   26   protective order, in lieu of a Belaire-West notice, sufficiently protects the privacy
   27   interest of putative class members and aggrieved employees in the confidentiality of
   28   their contact information. See, e.g., Goro, 334 F.R.D. at 287–88; see also Austin v.
                                                  49
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 50 of 65 Page ID #:420



    1   Foodliner, Inc., 16-cv-07185-HSG (DMR), 2018 U.S. Dist. LEXIS 36685, at *4–5
    2   (N.D. Cal. Mar. 6, 2018) (finding that the predominant practice is to allow pre-
    3   certification discovery of putative class members’ contact information subject to a
    4   protective order, without requiring a Belaire-West notice). The court in Austin
    5   noted that courts “generally have required Belaire-West notices only when there are
    6   special privacy concerns, such as the disclosure of medical or financial information,
    7   and/or when the parties have agreed to such notice.” Austin, 2018 U.S. Dist.
    8   LEXIS 36685, at *5.
    9         The cases on which Defendant relies to resist the discovery of class contact
   10   information are not on point. (See Mot. 42.) In Davies v. Superior Court, 43 F.
   11   Supp. 2d 1102, 1108–14 (1999), the requested information did not involve
   12   addresses and telephone numbers of putative class members—as is at issue here—
   13   but rather voluminous tax return information and general business records, all of
   14   which were subject to privileges not attendant here, including tax, trade secret, and
   15   financial privacy privileges. In United States Department of Defense v. Federal
   16   Labor Relations Authority, 510 U.S. 487, 492–502 (1994), the Supreme Court
   17   balanced the competing interests of the Privacy Act of 1974, the Freedom of
   18   Information Act, and the right of a union to obtain home addresses for agency
   19   employees in the bargaining unit represented by the union—none of which are at
   20   issue here—and concluded that the Privacy Act forbids disclosure of employee
   21   addresses to their collective bargaining representatives. In Rowan v. United States
   22   Post Office Department, 397 U.S. 728, 737–40 (1970), the Supreme Court decided
   23   the constitutionality of Title III of the Postal Revenue Act and Federal Salary Act of
   24   1967—also not at issue here—and held that a homeowner was within his or her
   25   constitutional right to require that a mailer of pandering advertisements remove his
   26   or her name from its mailing lists and stop all future mailings. In Planned
   27   Parenthood Golden Gate v. Superior Court, 83 Cal. App. 4th 347, 361–70 (2000),
   28   the privacy intrusion was vastly more serious than here, in that there existed the
                                                  50
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 51 of 65 Page ID #:421



    1   possibility of violence against, and harassment of, the abortion clinic staff—a risk
    2   not attendant in wage-and-hour class actions. In Britt v. Superior Court, 20 Cal. 3d
    3   844, 848, 859 (1978), the privacy intrusion also was more serious than here, as it
    4   involved “extensive and intimate details of both [plaintiffs] own and others’
    5   activities in various local political associations”—none of which are requested here.
    6         On this basis, Defendant’s privacy objection is OVERRULED.
    7
    8                                             ***
    9         Based on the foregoing, the Court concludes that Plaintiff is entitled to the
   10   contact information for the Relevant Employees. The Court next turns to whether
   11   Defendant’s disclosure of that information is to be made pursuant to a Belaire-West
   12   notice or the existing Protective Order. (See Prot. Order, ECF No. 33.)
   13         Neither party seems to take a strong position on this issue other than
   14   regarding which party should bear the cost. Plaintiff states that “it matters not . . .
   15   whether the production of contact information is obtained through either a Belaire-
   16   West notice or pursuant to the Parties’ already filed and signed Stipulated Protective
   17   Order” provided, based on Williams, that the Parties “split the cost associated with
   18   the dissemination of the notice, as is common practice in both class action and
   19   PAGA enforcement litigation.” (Mot. 22–23, & n.16 (citing Williams, 3 Cal. 5th at
   20   555).) Defendant asks simply, but without citing legal authority, that “Plaintiff be
   21   required to provide a Belaire-West notice and pay all related costs.” (Mot. 42–43.)
   22         On June 26, 2020, the Parties submitted for the Court’s consideration a
   23   Stipulated Protective Order (ECF No. 32), which has been in effect since the Court
   24   issued it as proposed on June 30, 2020 (Prot. Order). The “Good Cause Statement”
   25   of the Protective Order identifies the following information as protected from any
   26   use other than for the purpose of “prosecuting, defending or attempting to settle this
   27   Action”:
   28   ///
                                                   51
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 52 of 65 Page ID #:422



    1                This action is likely to involve trade secrets, customer
                     and pricing lists and other valuable research,
    2                development, commercial, financial, technical and/or
    3                proprietary information for which special protection from
                     public disclosure and from use other than prosecution of
    4                this action is warranted. Such confidential and
    5                proprietary materials and information consist of, among
                     other things, confidential business or financial
    6                information, information regarding confidential business
    7                practices, or other confidential research, development, or
                     commercial information (including information
    8                implicating privacy rights of third parties), information
    9                otherwise generally unavailable to the public, or which
                     may be privileged or otherwise protected from disclosure
   10                under state or federal statutes, court rules, case decisions,
   11                or common law.
   12   (Id. at 3, (emphasis added).)
   13         The Protective Order not only limits the use of the information, but also
   14   governs its storage and maintenance, how it must be disclosed, to whom it may be
   15   disclosed, how it must be protected in case of court-ordered disclosure, the remedy
   16   for its unauthorized disclosure, the procedures for its recovery upon an inadvertent
   17   disclosure, the protective measures that must be taken when the information needs
   18   to be filed, and its final disposition. (Id. at 9–15.) Based on this agreed-upon level
   19   of protection for “information implicating privacy rights of third parties,” the Court
   20   concludes that this Protective Order sufficiently protects the privacy interests of the
   21   putative class members. (See id. at 3.)
   22         Nevertheless, the Court acknowledges that a Belaire-West notice adds
   23   another layer of protection, giving Defendant’s employees—who are not, at this
   24   time, parties to the action—the right to decide whether their contact information
   25   should be disclosed at all, even if robustly protected by the Protective Order.
   26   Moreover, the Court is influenced by Plaintiff’s cooperative posture and his
   27   willingness to yield the decision to Defendant subject to an appropriate cost
   28   allocation. (Mot. 22–23 (“it matters not to Plaintiff” except that “if [Defendant]
                                                  52
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 53 of 65 Page ID #:423



    1   insists that a Belaire-West notice be sent out,” then the costs should be split
    2   between the Parties).) That said, the Court does not believe that a sharing of costs
    3   is appropriate here for two reasons. First, the Court has found that the Protective
    4   Order—which Defendant itself negotiated—is sufficient to protect the privacy
    5   interests at stake. Second, the privacy intrusion at issue does not rise to the level of
    6   that found by the courts in Davies, Federal Labor Relations Authority, Rowan,
    7   Planned Parenthood, and Britt, supra, to require additional protection.
    8   Accordingly, the Court makes its Order on an alternative basis, as follows:
    9         Option 1: Defendant shall respond to Interrogatory No. 1, as amended by
   10   agreement of the Parties (Mot. 20 n.14), by providing contact information for the
   11   Relevant Employees, pursuant to the Protective Order, within seven (7) days after
   12   the date of this Order.
   13         Option 2: If, however, Defendant believes that the Protective Order does not
   14   afford the level of protection it desires for the contact information of its employees,
   15   Defendant may elect to make disclosure of this information pursuant to a Belaire-
   16   West notice, through an agreed-upon third-party administrator, using agreed-upon
   17   language, to be sent no later than fifteen (15) days after the date of this Order, with
   18   a return period of no more than twenty-one (21) days from its mailing, and for
   19   which Defendant shall bear the entirety of the cost. Under this option, Defendant
   20   shall respond to Interrogatory No. 1, as amended by agreement of the Parties (Mot.
   21   20 n.14), by providing the contact information for the Relevant Employees, who do
   22   not timely exercise their Belaire-West opportunity to opt out, within ten (10) days
   23   after the close of the Belaire-West period. To avail itself of this option, Defendant
   24   must notify Plaintiff of its election to proceed thereunder, in writing, no later than
   25   two (2) days after the date of this Order. The intent of this timeline is to ensure that
   26   the Belaire-West notice is not overlooked by its recipients in the mix of holiday
   27   mail, and to ensure that the discovery cut-off date set by the District Judge remains
   28   achievable.
                                                   53
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 54 of 65 Page ID #:424



    1         D.       The Court Grants Plaintiff’s Request to Compel Defendant’s
    2                  Supplemental Responses to Requests Nos. 5, 6, and 30, and
    3                  Production of a Representative Sample of This Information
    4                  Regarding the Relevant Employees.
    5         Plaintiff seeks an order compelling Defendant to supplement its responses to
    6   Requests Nos. 5, 6, and 30, and to produce a representative sample of this
    7   information. (Mot. 6, 9, 23–24.) Request No. 5 seeks timekeeping data, Request
    8   No. 6 seeks payroll data, and Request No. 30 seeks wage statements. (Id. at 23–
    9   24.) Without waiving any rights to do so at a later time, Plaintiff’s requests do not,
   10   at this time, seek the identity of the employees whose data is produced. (Id.)
   11   Rather, Plaintiff seeks anonymized data with sufficient information, such as
   12   employee identification numbers, to allow him to correlate the clock-in and -out
   13   times in the timekeeping data with the corresponding payroll data and wage
   14   statements. (Id.)
   15         For the reasons set forth below, the Court finds that Plaintiff is entitled to this
   16   information.
   17
   18                  1.   Plaintiff Satisfies His Burden of Establishing that his Request
   19                       for Timekeeping Data, Payroll Data, and Wage Statements
   20                       Satisfies the Rule 26(b)(1) Relevancy Test.
   21         Plaintiff seeks a representative sample of timekeeping and payroll data, as
   22   well as related wage statements regarding the Relevant Employees. (Mot. 6, 9, 23–
   23   24.) He contends that both timekeeping and payroll data are essential to his
   24   evaluation and preparation of his motion for class certification because it will assist
   25   him in establishing commonality and typicality. (Id. at 27.) He explains that his
   26   experts will use the timekeeping data to establish the number and frequency of
   27   compensation violations related to his wage-and-hour claims across the class. (Id.)
   28   He further explains that the wage statements will allow him to determine
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 55 of 65 Page ID #:425



    1   compliance with the California wage statement rules in Labor Code section 226 and
    2   specifically to demonstrate whether employees properly were paid all vested
    3   vacation hours upon termination. (Id. at 28.) There is no question that, with this,
    4   Plaintiff satisfies his burden of establishing the relevancy of this information.
    5          Indeed, many courts in this Circuit have found this data to be relevant in
    6   wage-and-hour class actions such as this, and granted pre-certification discovery
    7   based on similar contentions. See, e.g., Arredondo, 2019 U.S. Dist. LEXIS 200750,
    8   at *18–20 (compelling the production of timekeeping, payroll, and wage statement
    9   information as relevant to class certification); Romo v. GMRI, Inc., No. EDCV-12-
   10   0715-JLQ, 2013 U.S. Dist. LEXIS 192481, at *16–17 (C.D. Cal. Jan. 25, 2013)
   11   (compelling the production of a 20% random sample of wage statements, payroll
   12   records, and time sheets); Hill v. Eddie Bauer, 242 F.R.D. 556, 563 (C.D. Cal.
   13   2007) (compelling the production of documents pertaining to putative class
   14   members’ hours, wages, business-related expenses, repayment of wages,
   15   termination wages, meal breaks and rest breaks so that plaintiff could pursue class
   16   certification and prosecute the action); Ho v. Ernst & Young, LLP, No. C-05-04867
   17   JF (HRL), 2007 U.S. Dist. LEXIS 37700, at *3–4 (N.D. Cal. May 9, 2007)
   18   (compelling the production of time and activity records because they could
   19   “indicate whether the putative class members did work that was sufficiently similar
   20   to justify a class action.”).
   21
   22                 2.     Defendant Does Not Meet Its Burden of Establishing That the
   23                        Discovery of Timekeeping Data, Payroll Data, and Wage
   24                        Statements Should Be Prohibited Under Rule 26(b)(2).
   25          As with the class contact information analysis, having found that Plaintiff has
   26   met his burden of establishing the relevancy of the information he seeks, the Court
   27   now turns to a determination of whether Defendant has met its burden to show that
   28   the discovery must be prohibited and to clarify, explain, and support its objections.
                                                  55
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 56 of 65 Page ID #:426



    1         Defendant argues that the timekeeping and payroll data sought through
    2   Requests Nos. 5 and 6 is not proportional to the needs of the case because it will not
    3   reflect information related to Plaintiff’s off-the-clock claim which, by definition,
    4   cannot be contained in any records. (Mot. 43.) But this argument either misses the
    5   mark altogether or is devoid of any evidentiary support. Plaintiff’s Complaint
    6   clearly alleges more than off-the-clock claims. (See generally Compl.) Yes, his
    7   overtime claim, minimum wage claim, meal period claim, wage statement claim,
    8   and termination wages claim could be, in part or in whole, premised on the alleged
    9   off-the-clock work. But to the extent Plaintiff is alleging these claims on a
   10   standalone basis, this data is not only relevant, but necessary. Moreover, Plaintiff’s
   11   Complaint also alleges claims for untimely and interrupted meal periods and rest
   12   breaks, as well as unpaid vacation hours, none of which appear to be derivative of
   13   off-the-clock work and all of which can be informed by this data. (See Compl. ¶¶
   14   66, 73, 81––89, 96–98, 102.) Alternatively, to the extent Defendant contends that
   15   Plaintiff’s claims have evolved over time and through discovery, it provides no
   16   evidence of this here. (See generally Mot.)
   17         Defendant further argues that the wage statements sought through Request
   18   No. 30 also are not proportional to the needs of the case because Defendant has
   19   produced Plaintiff’s wage statements and any violation of the wage statement rules
   20   should be apparent from them. (Mot. 43.) Again, this misses the mark. Even if
   21   Plaintiff’s wage statements were to contain all of the violations that could possibly
   22   exist related to Plaintiff’s wage statement claim, this still deprives Plaintiff of the
   23   opportunity to obtain information regarding the wage statements of other putative
   24   class members, which he needs to certify a class. This is the very circularity of
   25   reasoning that is prohibited by Doninger, Mantolete, and Vinole, supra. Indeed,
   26   given Defendant’s argument here—that Plaintiff’s purported lack of knowledge
   27   regarding his counterparts in Union City and the night shift should bar him from
   28   obtaining discovery about those employees—it is doubtful that Defendant would
                                                   56
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 57 of 65 Page ID #:427



    1   leave unchallenged any argument for class certification premised on Plaintiff’s
    2   experiences alone.
    3
    4                                            ***
    5         Based on the foregoing, the Court concludes that Plaintiff is entitled to the
    6   timekeeping data, payroll data, and wage statements for the Relevant Employees.
    7   The Court next turns to the question whether Plaintiff is entitled, at this pre-
    8   certification stage, to the data regarding every member of the putative class or only
    9   a representative sample of the class. In addition, the Court addresses the form of
   10   production.
   11
   12                 3.     Defendant Shall Produce the Timekeeping and Payroll Data, as
   13                        Well as the Wage Statements, for a 50% Representative Sample
   14                        of the Relevant Employees and the Last and Second-to-Last
   15                        Wage Statements for All Former Relevant Employees.
   16          The Parties agree that, at least at this stage of the proceedings, this
   17   information need only be produced for a representative sample of the Relevant
   18   Employees. (Mot. 6, 9, 43–44.) However, neither party has presented any fact or
   19   argument regarding the sampling method that may be appropriate, or the size of the
   20   class. (See generally id.) Instead, Plaintiff simply notes that he would be agreeable
   21   to a representative sample, without suggesting a sample size. (Id. at 6, 9.)
   22   Defendant, on the other hand, contends that a sample size of 10% would be
   23   appropriate, but offers no justification in support of this contention. (Id. at 43–44.)
   24         Defendant points to two cases in support of its contention that a ten-percent
   25   sample would be appropriate. (Id. at 43.) However, the Court is not persuaded that
   26   these cases, and other cases of which the Court is aware, can be of assistance, even
   27   at an informational level, because they are based, at least in part, on class size—
   28   information Defendant has not provided here. For example, in Talavera, 2017 U.S.
                                                   57
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 58 of 65 Page ID #:428



    1   Dist. LEXIS 16509, at *7, 12, the court ordered a 10% sample based on a putative
    2   class size of 5,309. In Brum v. MarketSource, Inc., No. 2:17-cv-241-JAM-EFB,
    3   2018 U.S. Dist. LEXIS 137568, at *11–16 (E.D. Cal. Aug. 14, 2018), the court
    4   ordered a 10% sample of wage statements and a 30% sample of electronic time and
    5   payroll records based on a putative class size of 7,400. Cases beyond those
    6   provided by Defendant also are of minimal assistance. In Romo, 2013 U.S. Dist.
    7   LEXIS 192481, at 12, *16–17, the court ordered a 20% sample based on a putative
    8   class size of 21,000. In Quintana v. Claire’s Boutiques, Inc., No. 5:13-cv-00358-
    9   PSG, 2014 U.S. Dist. LEXIS 7973, at *2, 8–9 (N.D. Cal. Jan. 21, 2014), the court
   10   ordered a 20% sample based on a putative class of 1,100. In Heredia v. Sunrise
   11   Senior Living LLC, No. 8:18-cv-01974-JLS (JDEx), 2019 U.S. Dist. LEXIS
   12   226747, at *11, 20–21, the court ordered a 15% sample based on a putative class of
   13   13,000. In Kaminske, 2010 U.S. Dist. LEXIS 141514, at *3, 16, the court ordered a
   14   10% sample based on a putative class of 1,700.
   15         In contrast, courts faced with smaller putative classes tend to compel pre-
   16   certification discovery for the entire putative class rather than for a representative
   17   sample. For example, in Faraji v. Target Corp., No. ED CV 17-155-ODW (SPx),
   18   2017 U.S. Dist. LEXIS 228574, at *17–18 (C.D. Cal. Apr. 28, 2017), the court
   19   found that a 10% sample for a class of 826 persons was too narrow and instead
   20   ordered production as to the entire class. Similarly, in Arredondo, 2019 U.S. Dist.
   21   LEXIS 200750, at *11–12, the court ordered production as to the entire class,
   22   finding the putative class of 1,133 to be “relatively small,” and surveying cases that
   23   “routinely order samples that outnumber the size of [its] putative class.” In Urena
   24   v. Central California Almond Growers Ass’n, No. 1:18-cv-00157-LJO-EPG, 2019
   25   U.S. Dist. LEXIS 95546, at *18 (E.D. Cal. June 6, 2019), the court declined to
   26   order a sample for the “relatively small” putative class of 286 employees, and
   27   instead ordered production as to the entire class.
   28   ///
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 59 of 65 Page ID #:429



    1         The Court notes that, at the IDC, Defendant represented that there were thirty
    2   Day Warehouse Workers in the City of Industry during the relevant class period,
    3   and that this count included those who signed Pick Up Stix releases and/or were
    4   subject to class action waivers. Defendant also represented that the addition of the
    5   Night Warehouse Workers would increase that count by more than 100, but
    6   declined to provide a more definitive count. Thus, in the City of Industry alone, the
    7   Relevant Employees exceed a count of 130 by some unknown number. The Court
    8   has no information regarding the extent to which the Relevant Employee count
    9   would increase upon the addition of the same group of employees for the Union
   10   City facility. Thus, it is impossible from these facts to determine if the Relevant
   11   Employee count here is closer to that of the putative classes considered “relatively
   12   small,” or otherwise. However, because Plaintiff requests this data for a
   13   representative sample, the Court will follow the Hawaiian proverb and not disturb
   14   the waters that are tranquil.
   15         With this in mind, the Court determines—with guidance from the legal
   16   authorities above—that a sample size of 50% is a good starting point. If, for any
   17   reason, this sample proves inadequate—because of the inability to locate former
   18   employees, the reluctance of current employees to speak to Plaintiff’s counsel, or
   19   any other reason—or if Plaintiff learns that Defendant intends to challenge his class
   20   certification bid on the ground that the sample is not adequately representative,
   21   Plaintiff may apply for additional relief. Whatever the nature of the sampling, the
   22   production of the timekeeping data, payroll data, and wage statements must be
   23   coordinated so that Plaintiff may correlate the timekeeping data with its payroll and
   24   wage statement counterparts—that is, the 50% sample shall be for the same persons
   25   across timekeeping, payroll, and wage statement information.
   26         During the IDC, Plaintiff clarified that, even if the Court were to compel the
   27   production of only a representative sample of the requested data, he still would
   28   need the second-to-last and last wage statements for every former employee in the
                                                  59
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 60 of 65 Page ID #:430



    1   putative class in order to establish the commonality and typicality of his vacation
    2   claim. It is unclear whether Plaintiff has abandoned this request in the Motion.
    3   (Compare Mot. 6 (“Plaintiff contends the scope of permissible discovery should
    4   include a representative sample taken from all [of the putative class]”) and id. at 9
    5   (“Accordingly, Plaintiff requires access to all Warehouse Workers at both facilities
    6   and, for purposes of class certification, a representative sample of their relevant
    7   timekeeping, payroll and wage statements”), with id. at 29 (“Plaintiff requires the
    8   second-to-last and last wage statement of each former Covered Employee in order
    9   to establish the commonality and typicality of [Defendant’s] failure to pay all
   10   earned vested vacation wages.”).) Noting the unique needs presented by a vacation
   11   claim that seeks to establish a failure to pay all accrued-but-unused vacation hours
   12   upon the conclusion of employment, which information, in turn, is detailed on the
   13   wage statements, and being mindful of the possibly that the size of such a sub-set of
   14   the Relevant Employees could render a 50% representative sample inadequate, the
   15   Court determines that Plaintiff is entitled to the second-to-last and last wage
   16   statements for all former Relevant Employees.
   17         In addition, the Court notes that Plaintiff has agreed to receive this data, at
   18   least for now, anonymized—that is, without the names of the employees, but with
   19   sufficient identifying information, such as, for example, an employee identification
   20   number—so that the data can be correlated across itself. (See Mot. 23–24.)
   21   Defendant does not address this issue. (See generally id.) The Court agrees with
   22   Plaintiff. Defendant must provide this data anonymized but with some form of
   23   identification information.
   24   ///
   25   ///
   26   ///
   27   ///
   28   ///
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Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 61 of 65 Page ID #:431



    1                4.     Defendant Shall Produce the Timekeeping and Payroll Data in
    2                       Excel-Friendly Format or Other Searchable Database or Native
    3                       Format.
    4         Requests Nos. 5 and 6 ask that the timekeeping and payroll data be provided
    5   in an Excel-readable and searchable database, or another electronic searchable
    6   database or native format, and note that a production of this data in searchable PDF
    7   is not an acceptable format. (Mot. 23–24.) In the Motion, Plaintiff explains that his
    8   “experts require a Microsoft Excel-friendly document to accurately and effectively
    9   assess the violations without incurring overwhelming litigation costs,” which
   10   Plaintiff notes could mean “thousands [of dollars] in costs and fees” due to the
   11   necessity to “hire companies and commit time from support staff to review
   12   thousands of documents and input the relevant information into Microsoft Excel-
   13   friendly files.” (Id. at 28.) Defendant fails to address this issue altogether. (See
   14   generally id.)
   15         In their Joint Rule 26(f) Report, the Parties advised the Court of their
   16   intentions regarding the production of electronically stored information (“ESI”).
   17   Plaintiff wrote: “Defendants have disclosed that they currently have limited ESI,
   18   excluding timesheet information. Plaintiff will seek future ESI as appropriate. If it
   19   is determined that additional ESI exists, Plaintiff will meet and confer to establish
   20   any appropriate ESI protocols.” (ECF No. 14, at 10.) Defendant wrote:
   21   “Defendant does not anticipate any ESI-related discovery issues.” (Id. at 11.)
   22         In its written responses to Requests Nos. 5 and 6, Defendant objects only as
   23   to the source of the information sought, stating: “Defendant further objects on the
   24   ground that the Request is unduly burdensome and oppressive, including to the
   25   extent that it exceeds the permissible scope of discovery by seeking electronically
   26   stored information from a source that is not accessible because of undue burden or
   27   expense. (Mot. 24–25.) As to Request No. 5, Defendant further states that, subject
   28   to its objections, it “will produce its time records for Plaintiff during the relevant
                                                   61
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 62 of 65 Page ID #:432



    1   time.” (Id. at 25 (emphasis added).) As to Request No. 6, Defendant further states
    2   that, subject to its objections, it “will produce its wage statements/payroll records to
    3   the extent they are in Excel or an otherwise searchable format for Plaintiff.” (Id. at
    4   25–26 (emphasis added).)
    5         The Court notes that Defendant did not interpose an objection regarding the
    6   form of production, as Rule 34 permits. Fed. R. Civ. P. 34(b)(2)(D) (“The response
    7   may state an objection to a requested form for producing electronically stored
    8   information. If the responding party objects to a requested form—or if no form was
    9   specified in the request—the party must state the form or forms it intends to use.”)
   10   Although Rule 34 does not contain a provision that untimely objections are waived,
   11   see generally Fed. R. Civ. P. 34, the Ninth Circuit has stated that a failure to object
   12   in a timely manner to discovery requests propounded under Rule 34 results in the
   13   waiver of any objection. Richmark Corp. v. Timber Falling Consultants, 959 F.2d
   14   1468, 1473 (9th Cir. 1992) (“It is well established that a failure to object to
   15   discovery within the time required constitutes a waiver of any objection.”).
   16         The Court does not know what to make of Defendant’s silence, both in light
   17   of its Rule 26 obligations and its opportunity to object to the form of production as
   18   requested in Requests Nos. 5 and 6. As Defendant fails to address this issue
   19   altogether in the Motion, it is unclear whether Defendant disputes its obligation to
   20   produce the documents/data as requested.
   21         Accordingly, the Court GRANTS Defendant’s request for an order
   22   compelling Defendant to produce its responses to Requests Nos. 5 and 6 in an
   23   Excel-readable and searchable database, or another electronic searchable database
   24   or native format.
   25   ///
   26   ///
   27   ///
   28   ///
                                                   62
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 63 of 65 Page ID #:433



    1   IV.   CONCLUSION
    2         For the reasons set forth above, the Motion is GRANTED and, thereupon,
    3   the Court ORDERS as follows:
    4         1.    Plaintiff is entitled to pre-certification discovery, as detailed below.
    5         2.    The pre-certification discovery shall be regarding the Relevant
    6               Employees, which, as defined above, encompasses the following
    7               persons: all current and former Day and Night Warehouse Workers in
    8               both the City of Industry and Union City locations, including those
    9               persons who signed settlement agreements releasing the claims raised
   10               here and/or arbitration agreements with class action waivers, for the
   11               period from July 22, 2015 to the present.
   12         3.    Defendant is ORDERED to supplement its written response to
   13               Interrogatory No. 1, as amended by agreement of the Parties (Mot. 20
   14               n.14), to include the full names, employment positions(s), last known
   15               home address, last known telephone numbers—including but not
   16               limited to, home telephone numbers and cellular telephone numbers—
   17               and employment dates, for the Relevant Employees, pursuant to either
   18               Option 1 or Option 2:
   19               a.    Option 1: subject to the existing Protective Order, within seven
   20                     (7) days after the date of this Order, or
   21               b.    Option 2: subject to Defendant’s election to proceed under a
   22                     Belaire-West notice, through an agreed-upon third-party
   23                     administrator, using agreed-upon language, to be sent no later
   24                     than fifteen (15) days after the date of this Order, with a
   25                     return period of no more than twenty-one (21) days from its
   26                     mailing, and for which Defendant shall bear the entirety of the
   27                     cost. To avail itself of this option, Defendant must notify
   28                     Plaintiff of its election to proceed thereunder, in writing, no
                                                 63
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 64 of 65 Page ID #:434



    1                    later than two (2) days after the date of this Order. If
    2                    Defendant elects to proceed under this option, it is ORDERED
    3                    to respond to Interrogatory No. 1, as amended by agreement of
    4                    the Parties (Mot. 20 n.14), by providing, within ten (10) days
    5                    after the close of the Belaire-West period, the contact
    6                    information for the Relevant Employees who do not timely
    7                    exercise their Belaire-West opportunity to opt out.
    8        4.    Defendant is ORDERED to supplement its written responses to
    9              Requests Nos. 5 and 6, and produce, within fifteen (15) days after the
   10              date of this Order, the timekeeping data and payroll data for a 50%
   11              sample of the Relevant Employees, in an Excel-readable and
   12              searchable database, or another electronic searchable database or
   13              native format. Although the data shall be anonymized, it must provide
   14              some form of identification information, such as, for example, an
   15              employee identification number, so that Plaintiff may be able to
   16              correlate the data across itself.
   17        5.    Defendant is ORDERED to supplement its written response to
   18              Request No. 30, and produce, within fifteen (15) days after the date
   19              of this Order, the wage statements for a 50% sample of the Relevant
   20              Employees. In addition, Defendant is ORDERED to produce the last
   21              and second-to-last wage statements for all, rather than a 50% sample
   22              of, former Relevant Employees. Although the data shall be
   23              anonymized, it must provide some form of identification information,
   24              such as, for example, an employee identification number, so that the
   25              data can be correlated across itself.
   26        6.    The Parties are ORDERED to meet and confer forthwith regarding
   27              the sampling method to be employed in responding to Requests Nos. 5,
   28              6, and 30, as well as how the data shall be anonymized. If the Parties
                                                 64
Case 2:19-cv-08370-DSF-MAA Document 47 Filed 10/19/20 Page 65 of 65 Page ID #:435



    1               are unable to agree regarding the sampling method and/or the data
    2               anonymization method, each shall file, within seven (7) days after
    3               the date of this Order, a proposed order regarding the sampling
    4               method and/or data anonymization method.
    5        7.     Whatever the sampling method, the production of the timekeeping
    6               data, payroll data, and wage statements, must be coordinated so that
    7               the data can be correlated across itself—that is, the 50% sample shall
    8               be for the same persons across timekeeping, payroll, and wage
    9               statement data.
   10        8.     In that the Court GRANTS the entirety of Plaintiff’s Motion, he may
   11               apply for the reasonable expenses incurred in making the Motion,
   12               including attorneys’ fees, pursuant to Rule 37(a)(5). Upon the filing of
   13               such motion, the Court will set a briefing schedule and a hearing date.
   14               The Court reminds Plaintiff that such motion must be accompanied by
   15               sufficient evidence to support the monetary relief sought. See Gates v.
   16               Deukmejian, 987 F.2d 1392 (9th Cir. 1993); Camacho v. Bridgeport
   17               Fin., Inc., 523 F.3d 973 (9th Cir. 2008); Jordan v. Multonah County,
   18               815 F.2d 1258 (9th Cir. 1987); Van Gerwen v. Guarantee Mut. Life
   19               Co., 214 F.3d 1041 (9th Cir. 2000).
   20
   21        It is so ordered.
   22
   23   DATED: October 19, 2020
   24
   25
                                              MARIA A. AUDERO
   26                                         UNITED STATES MAGISTRATE JUDGE
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